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                  Appeal Nos. 2022-1594, 2022-1653

                    United States Court of Appeals
                        for the Federal Circuit
                           ________________
     THE REGENTS OF THE UNIVERSITY OF CALIFORNIA,
    UNIVERSITY OF VIENNA, EMMANUELLE CHARPENTIER,
                                        Appellants,
                           v.
               THE BROAD INSTITUTE, INC.,
        MASSACHUSETTS INSTITUTE OF TECHNOLOGY,
       PRESIDENT AND FELLOWS OF HARVARD COLLEGE,
                                        Cross-Appellants.
                           ________________
     Appeal from the United States Patent and Trademark Office,
      Patent Trial and Appeal Board in Interference No. 106,115
                           ________________
          OPENING BRIEF FOR CROSS-APPELLANTS
                           ________________
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Attorneys for Cross-Appellants,
 The Broad Institute, Inc.,
 Massachusetts Institute of Technology, and
 President and Fellows of Harvard College
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                                Count 1
                U.S. Patent No. 8,697,359, Claim 18
The CRISPR-Cas system of claim 15, wherein the guide RNAs comprise
a guide sequence fused to a tracr sequence.
Claim 15 recites:
An engineered, programmable, non-naturally occurring Type II CRISPR-
Cas system comprising a Cas9 protein and at least one guide RNA that
targets and hybridizes to a target sequence of a DNA molecule in a
eukaryotic cell, wherein the DNA molecule encodes and the eukaryotic
cell expresses at least one gene product and the Cas9 protein cleaves the
DNA molecules, whereby expression of the at least one gene product is
altered; and, wherein the Cas9 protein and the guide RNA do not
naturally occur together.
                                   -OR-
         U.S. Patent Application No. 15/981,807, Claim 156
A eukaryotic cell comprising a target DNA molecule and an engineered
and/or nonnaturally occurring Type II Clustered Regularly Interspaced
Short Palindromic Repeats (CRISPR)—CRISPR associated (Cas)
(CRISPR-Cas) system comprising
      a) a Cas9 protein, or a nucleic acid comprising a nucleotide
      sequence encoding said Cas9 protein; and
      b) a single molecule DNA-targeting RNA, or a nucleic acid
      comprising a nucleotide sequence encoding said single molecule
      DNA-targeting RNA; wherein the single molecule DNA-targeting
      RNA comprises:
        i) a targeter-RNA that is capable of hybridizing with a target
        sequence in the target DNA molecule, and
        ii) an activator-RNA that is capable of hybridizing with the
        targeter-RNA to form a double-stranded RNA duplex of a
        protein-binding segment, wherein the activator-RNA and the
        targeter-RNA are covalently linked to one another with
        intervening nucleotides; and wherein the single molecule DNA-
        targeting RNA is capable of forming a complex with the Cas9
        protein, thereby targeting the Cas9 protein to the target DNA
        molecule, whereby said system is capable of cleaving or editing
        the target DNA molecule or modulating transcription of at least
        one gene encoded by the target DNA molecule.
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                     CERTIFICATE OF INTEREST

    Counsel for Cross-Appellants, The Broad Institute, Inc.,
Massachusetts Institute of Technology, and President and Fellows of
Harvard College certifies the following:

      1.    The full name of every party represented by me is:
            The Broad Institute, Inc.
            Massachusetts Institute of Technology
            President and Fellows of Harvard College

      2.    The names of the real parties in interest represented by me
is:
            None

     3.   All parent corporations and any publicly held companies that
own 10 percent or more of the stock of the party or amicus curiae
represented by me are:
            None

     4.   The names of all law firms and the partners or associates who
appeared for the parties now represented by me before the Patent Trial
and Appeal Board, or are expected to appear in this Court, are:
            Zachariah Summers, Quinn Emanuel Urquhart & Sullivan
            LLP

      5.    The title and number of any case known to counsel to be
pending in this or any other court or agency that will directly affect or be
directly affected by this court’s decision in the pending appeal are:
            The Broad Institute, Inc.,    Massachusetts Institute of
            Technology, and President and Fellows of Harvard College v.
            ToolGen, Inc., Patent Interference No.      106,126 (DK)
            (PTAB)(suspended pending this appeal)

            The Broad Institute, Inc.,    Massachusetts Institute of
            Technology, and President and Fellows of Harvard College v.
            Sigma-Aldrich Co., LLC, Patent Interference No. 106,133
            (DK) (PTAB)(suspended pending this appeal)
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         The Regents of the University of California, University of
         Vienna, and Emmanuelle Charpentier v. ToolGen, Inc.,
         Patent Interference No. 106,127 (DK) (PTAB)(suspended
         pending this appeal)

         The Regents of the University of California, University of
         Vienna, and Emmanuelle Charpentier v. Sigma-Aldrich Co.,
         LLC,    Patent   Interference   No.       106,132    (DK)
         (PTAB)(suspended pending this appeal)




DATE: February 7, 2023                 /s/ Raymond N. Nimrod




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Parties
CVC                       Regents of the University of California, University of
                          Vienna, and Emmanuelle Charpentier
Broad                     The Broad Institute, Inc., Massachusetts Institute of
                          Technology, and President and Fellows of Harvard
                          College
Patents and
Applications
B1                        Broad’s Provisional App. No. 61/736,527 (Appx211-
                          Appx562)
P1                        CVC’s Provisional App. No. 61/652,086 (Appx563-
                          Appx759)
P2                        CVC’s Provisional App. No. 61/716,256 (Appx760-
                          Appx1038)
P3                        CVC’s Provisional App. No. 61/757,640 (Appx1039-
                          Appx1417)
’359 Patent               Broad Patent No. 8,697,359 (Appx17564-Appx17680)



Defined Terms
048 Interference          Interference No. 106,048
115 Interference          Interference No. 106,115
APA                       Administrative Procedures Act
Cong 2013                 Cong et al., Multiplex Genome Engineering Using
                          CRISPR/Cas Systems, 339(6121) SCIENCE 819-823
                          (2013) with Supplemental Material (Appx5566-96)
CRISPR                    Clustered Regularly Interspaced Short Palindromic
                          Repeats
CVC I                     Regents of Univ. of California v. Broad Inst., Inc., 903
                          F.3d 1286 (Fed. Cir. 2018)

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Jinek 2012               Jinek et al., A programmable dual-RNA-guided DNA
                         endonuclease in adaptive bacterial immunity,
                         337(6096) SCIENCE 816-821 (2012) (Appx5597-
                         5602)
POSITA                   Person of ordinary skill in the art




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                 STATEMENT OF RELATED CASES

     No other appeal in or from this Interference was previously before

this Court or any other appellate court.

     This is, however, the second appeal from a patent interference

concerning the same parties, CRISPR-Cas9 subject matter, and many of

the same Broad patent claims.       The prior interference, Interference

106,048, ended when the PTAB granted Broad’s motion for a judgment

of no interference-in-fact.     This Court affirmed, concluding that

substantial evidence supported the PTAB’s findings. Regents of Univ. of

California v. Broad Inst., Inc., 903 F.3d 1286 (Fed. Cir. 2018)(CVC I).

     In the present interference, the PTAB held that CVC I does not

control the outcome here (Appx159), but noted “the relevant facts

considered in the prior interference may be similar to and overlapping

with the relevant facts” at issue in this interference. Appx82.

     Counsel for Cross-Appellants are aware of the following four other

Patent Interferences currently pending in the PTAB that may be directly

affected by this Court’s decision in this appeal:

     The Broad Institute, Inc., Massachusetts Institute of Technology,
     and President and Fellows of Harvard College v. ToolGen, Inc.,
     Patent Interference No. 106,126 (DK) (PTAB)(suspended pending
     this appeal)

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The Broad Institute, Inc., Massachusetts Institute of Technology,
and President and Fellows of Harvard College v. Sigma-Aldrich Co.,
LLC, Patent Interference No. 106,133 (DK) (PTAB)(suspended
pending this appeal)

The Regents of the University of California, University of Vienna,
and Emmanuelle Charpentier v. ToolGen, Inc., Patent Interference
No. 106,127 (DK) (PTAB)(suspended pending this appeal)

The Regents of the University of California, University of Vienna,
and Emmanuelle Charpentier v. Sigma-Aldrich Co., LLC, Patent
Interference No. 106,132 (DK) (PTAB)(suspended pending this
appeal)




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                           INTRODUCTION

     In this Interference, CVC asserted that it was the first to conceive

of and reduce to practice the subject matter of Count 1, directed to using

engineered CRISPR-Cas9 systems to modify DNA in eukaryotic cells.

Substantial evidence supports the PTAB’s decision rejecting CVC’s

assertion.

     In an interference, the PTAB determines which party has priority

of invention and is entitled to patent claims encompassing the disputed

subject matter (the “count”). Pre-AIA, priority goes to the first party to

reduce the invention of the count to practice unless the other party can

show that it was first to conceive the invention and exercised reasonable

diligence toward a later reduction to practice. See Cooper v. Goldfarb,

154 F.3d 1321, 1327 (Fed. Cir. 1998). As the Junior Party, CVC had the

burden to show that it was entitled to priority over Broad.

     As the PTAB found—and CVC does not dispute—Broad had a

corroborated actual reduction to practice at least by October 5, 2012,

when Dr. Feng Zhang submitted a manuscript to SCIENCE describing his

successful uses of CRISPR-Cas9 in eukaryotic cells (the October 5

Manuscript).   Given this finding, CVC needed to show a complete



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conception or reduction to practice before October 5, 2012. CVC failed to

do so. Therefore, judgment of priority to Broad was proper.

      CVC argued that it had a complete conception by March 1, 2012;

but the evidence, including CVC’s repeated failures and the inventors’

communications regarding those continuing failures in the following

months, revealed they lacked any settled plan for how to create the

functional eukaryotic CRISPR-Cas9 system of Count 1. Indeed, even by

mid-October 2012, CVC’s extensive experiments were failing, its

scientists and their collaborators were struggling with a plethora of

potentially insurmountable problems, and CVC’s inventors lacked any

plan for overcoming the fundamental problems plaguing their system.

      The PTAB recited and applied the correct, objective legal standard

for conception: “Conception is complete only when the idea is so clearly

defined in the inventor’s mind that only ordinary skill would be necessary

to reduce the invention to practice, without extensive research or

experimentation.” Appx138 (quoting Burroughs Wellcome Co. v. Barr

Lab., Inc., 40 F.3d 1223, 1228 (Fed. Cir. 1994)).1 This is exactly the




1   All emphases in this brief are supplied unless otherwise noted.
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standard CVC urged the PTAB to use.            Appx66858 (CVC quoting

Burroughs).

      The PTAB made numerous findings under this standard,

including the following three key fact-findings:

     (1) CVC’s inventors and their collaborators, all at least of ordinary

skill, engaged in extensive research and experimentation in their failed

attempts to implement CVC’s hope for a functional eukaryotic CRISPR-

Cas9 system (Appx158);

     (2) CVC’s course of experimentation after their purported

conceptions revealed uncertainty that so undermined the specificity of

the inventors’ idea that it was not a definite and permanent reflection of

the complete invention (Appx159); and

     (3) CVC’s inventors lacked a clear plan for addressing the multiple

failures encountered during the long course of experimentation

(Appx157; Appx183).

     Thus, the PTAB concluded that CVC failed to prove conception as

of March 1 or any date before October 5, 2012. Substantial evidence

supports the PTAB’s finding that CVC lacked a conception.




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     As to written description, substantial evidence similarly supports

the PTAB’s findings that neither P1 nor P2 included adequate support

under §112 for an embodiment of Count 1. Neither P1 nor P2 disclosed

an experiment in eukaryotic cells; nor did they include instructions or

disclosures showing that CVC’s inventors possessed the invention at

issue—a functional eukaryotic CRISPR-Cas9 system—in this highly

unpredictable art.

     The PTAB’s decisions comprise 180-plus pages, hundreds of record

citations, and numerous credibility findings; its determinations are the

epitome of reasoned decision-making under the APA.

      Regarding Broad’s conditional cross appeal (which the Court need

not address if it affirms the priority decision), the PTAB interpreted

Broad’s claim term “guide RNA” too narrowly by limiting it to “only a

single-molecule RNA configuration,” excluding dual-molecule RNA

configurations.




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                  JURISDICTIONAL STATEMENT

     Broad agrees with CVC’s jurisdictional statement; jurisdiction

similarly exists over Broad’s timely filed cross-appeal.




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                COUNTER-STATEMENT OF ISSUES

On CVC’s Appeal:

     1.    Whether substantial evidence supports any of the PTAB’s

dispositive fact-findings on conception, including that:

     (1) CVC’s inventors and their collaborators, all of at least ordinary

skill, engaged in extensive research and experimentation in their failed

attempts to implement CVC’s hope for a functional eukaryotic CRISPR-

Cas9 system;

     (2) CVC’s course of experimentation after their purported

conceptions revealed uncertainty that so undermined the specificity of

the inventors’ idea that it was not a definite and permanent reflection of

the complete invention; and

     (3) CVC’s inventors lacked a clear plan for addressing the multiple

failures encountered during the long course of experimentation.

     2.    Whether the PTAB’s thorough, 180-page analysis satisfies the

APA’s reasoned-decision making requirement.

     3.    Whether substantial evidence supports the PTAB’s findings

that CVC failed to show that either P1 or P2 adequately support the

invention of Count 1.



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On Broad’s Conditional Cross-Appeal:

     1.    Whether the PTAB erred in giving “guide RNA” a narrow

construction rather than the broadest reasonable interpretation.

     2.    Whether the PTAB erred in denying Broad’s Motions 2 and 3

based on this narrow claim construction.




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              COUNTER-STATEMENT OF THE CASE

I.   The 048 Interference

     In the 048 Interference, CVC attempted to strip Broad of its

eukaryotic CRISPR-Cas9 claims by provoking an interference between

CVC’s environment-free claims and Broad’s eukaryotic claims.2 In that

Interference, the PTAB granted Broad’s motion for no interference-in-

fact, which this Court affirmed. CVC I, 903 F.3d at 1289. As a result,

Broad kept its eukaryotic claims and CVC kept its environment-free

claims.    CVC now has patents—not at issue here—claiming the

environment-free subject matter, including sgRNA claims.

     In CVC I, this Court found that “[i]n light of the record evidence,

which includes expert testimony, contemporaneous statements made by

skilled artisans, statements by the [CVC] inventors themselves, and

prior art failures, we conclude that the Board’s fact-finding as to a lack

of reasonable expectation of success [in eukaryotic cells] is supported by

substantial evidence.”    Id. at 1294.   This Court identified numerous

categories of substantial evidence supporting the PTAB’s findings:



2     All of Broad’s patents and the application in CVC I are at issue here.
One additional, later-issued Broad patent—U.S. Patent No. 9,840,713—
is also at issue here.
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         •     The “statements by the [CVC] inventors acknowledging
               doubts and frustrations about engineering CRISPR-Cas9
               systems to function in eukaryotic cells and noting the
               significance of Broad’s success.” Id. at 1293.

         •     The contemporary observations of CVC’s expert Dr. Dana
               Carroll who, in a September 2012 review of Jinek 2012, raised
               specific reasons why CRISPR-Cas9 may not work in
               eukaryotic cells. Id. at 1292-93.

         •     The material differences between eukaryotic and prokaryotic
               cells that would present potentially insurmountable
               challenges in adapting the prokaryotic CRISPR-Cas9 system
               to eukaryotic cell uses. Id. at 1292.

         •     The historical struggles and failures in attempting to adapt
               other prokaryotic systems, such as Group II Introns, for use
               in eukaryotes. Id. at 1293-94.

The PTAB relied on these same categories of evidence, and more, in its

decisions in this Interference.

II.      The Challenges Of Engineering Functional Eukaryotic
         CRISPR-Cas9 Systems

         Count 1 requires a CRISPR-Cas9 system with a single-molecule

guide RNA (sometimes called “sgRNA”3) that functions in eukaryotic

cells.       Engineering a functional eukaryotic CRISPR-Cas9 system

presented myriad, and potentially insurmountable, challenges.




3  The term “sgRNA” refers to the single-molecule guide RNA
configuration of a CRISPR-Cas9 system. sgRNA is sometimes referred
to as RNA with the components “fused” or as “chimeric RNA.”
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     A.      CRISPR-Cas9 Systems Occur Naturally Only In
             Prokaryotic Cells, Which Are Much Simpler Than
             Eukaryotic Cells

     Eukaryotic cells have a nucleus and can make up multi-celled

organisms such as plants and animals. In contrast, prokaryotic cells (e.g.,

bacteria) have no nucleus and are unicellular. Eukaryotic cells are much

more complex than prokaryotic cells.

     CRISPR-Cas9 systems, which are protein:RNA complexes, occur

naturally only in prokaryotes, and serve as defense mechanisms against

pathogens. Appx54927(¶30-31). The protein component includes Cas9.

The RNA components (crRNA and tracrRNA) hybridize to form an RNA

duplex.   Id; see also Appx54931(¶38); Appx54965(¶129).            That RNA

duplex directs the Cas9:RNA complex to its DNA target, where the

system may cleave target DNA in the prokaryotic cell.

     As noted, significant differences exist between prokaryotic and

eukaryotic    cells,   stemming   from   a   1.5-billion-year evolutionary

divergence, including:

     ● Eukaryotic cells have a nucleus protecting genomic DNA,
       organized into discrete structures, called chromosomes,
       composed of a protein/DNA complex called chromatin.
       Appx54963(¶124); Appx54968-70(¶¶139-43).



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     ● Prokaryotic cells lack nearly all the structural organization
       found in eukaryotic cells, such as a nucleus and chromatin, that
       functions to organize and protect DNA. Appx54967(¶136);
       Appx54969-70(¶¶140-41).

     ● Eukaryotic cells employ different cellular machinery and
       mechanisms to express genes, relying on proteins and complexes
       not found in prokaryotic cells. Appx54947(¶77). Those proteins
       and complexes can be essential to the proper transcription and
       translation of genetic material. Appx54966(¶132).

     ● Prokaryotic and eukaryotic cells have different environments,
       including    different   intracellular   temperatures,   ion
       concentrations, and pH. Id.

     ● Prokaryotic systems expressed in eukaryotic cells are often
       destroyed by native eukaryotic defense mechanisms.
       Appx54964-66(¶¶127-30).

     Based on those differences, 2012 POSITAs knew there were many

obstacles to adapting prokaryotic protein:RNA complexes for use in

eukaryotes, including:

     (1) delivery into the eukaryotic cell,

     (2) expression of the components in the cell,

     (3) surviving eukaryotic defense mechanisms,

     (4) formation of the protein:RNA complex,

     (5) toxicity to the cell,

     (6) proper protein folding,

     (7) localization in the nucleus,

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     (8) access to the desired DNA target in the chromatin, and

     (9) cleavage of the DNA.

Appx54962-63(¶124). Illustrating this, prior-art attempts to adapt other

prokaryotic systems for eukaryotic use revealed significant obstacles,

resulted in largely failed attempts, and exposed a need for a specialized

set of conditions for each system to achieve even minimal success.

Appx54972-79(¶¶148-67).

     Only one prior attempt of record, Group II introns, included both

protein and RNA components, like CRISPR-Cas9. Appx54972-75(¶¶149-

57). The 2012 POSITA knew that, after over 16 years of experimental

efforts on Group II introns, researchers ultimately achieved only limited

success in modified eukaryotic cells under extremely specialized

conditions, including introducing toxic levels of magnesium into the cells.

Appx54973(¶153).

     B.    The CVC Inventors’ In Vitro, Cell-Free Experiments

     CVC’s inventors disclosed in vitro biochemical studies of CRISPR-

Cas9 at a public conference in June 2012. Appx183. These studies—

published days later as Jinek 2012—involved CRISPR-Cas9 systems in

just cell-free environments, specifically test-tubes containing only the


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CRISPR-Cas9 system components and purified DNA targets under

simpler and more concentrated conditions than in eukaryotic cells. These

studies did not mimic the prokaryotic cell environment, much less

address the obstacles presented by eukaryotic cells. Appx54923(¶19).

Jinek 2012 disclosed experiments using either dual-molecule RNA or

sgRNA. To create the sgRNA, CVC used prior art techniques to link the

tracrRNA and crRNA. Appx19480(¶4.35).

     Before the interferences, CVC’s inventors admitted that it was still

unknown after Jinek 2012’s in vitro experiments whether CRISPR-Cas9

could be adapted to work in eukaryotic cells. For example, Dr. Jennifer

Doudna stated, after Jinek 2012 published, that “getting CRISPR to work

in human cells” would be “a profound discovery.” Appx5644. She stated

in 2014, after publication of Broad’s success in eukaryotes, that “[o]ur

[Jinek] 2012 paper was a big success, but there was a problem. We

weren’t sure if CRISPR/Cas9 would work in eukaryotes—plant and

animal cells.”    Appx49994.    Explaining her uncertainty, she said,

“[u]nlike bacteria, plant and animal cells have a cell nucleus, and inside,

DNA is stored in a tightly wound form, bound in a structure called

chromatin.” Id.


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     The scientific community similarly doubted that CRISPR-Cas9

could be engineered to work in eukaryotic cells. In September 2012,

eukaryotic-genome-editing expert Dr. Dana Carroll, later a CVC expert

witness, published a review of Jinek 2012, identifying serious reasons for

doubt. Appx49991. For example, he observed that eukaryotic enzymes

could degrade the RNA components in CRISPR-Cas9 systems or the

systems could fail to overcome chromatin. Id.

III. Zhang’s Invention Of Functional Eukaryotic CRISPR-Cas9
     Systems

     Zhang was uniquely situated to become the first scientist to

conceive of and reduce to practice engineered CRISPR-Cas9 systems for

use in eukaryotic cells.     Before 2011, THE SCIENTIST called him the

“Midas of Methods” for his feat of adapting a pond scum protein to

function in eukaryotic cells.     Appx88788-89.      As a Junior Fellow at

Harvard, he applied TALENs (transcription activator-like effector

nucleases) in a new way—to control transcription of genes in human

cells. Appx75019(¶¶45-46). By 2010, at just age 27, Zhang had accepted




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appointments at Broad and MIT, and founded his Broad laboratory.

Appx75020(¶47).

     Zhang first learned of prokaryotic CRISPR systems in February

2011, and immediately recognized the potential for repurposing these

systems for use in eukaryotic cells. Appx74998(¶5).

     A.    2011: Zhang Identifies The Necessary Components For
           A Functional Eukaryotic CRISPR-Cas9 System

     By April 2011, well before Jinek 2012, Zhang recognized the three

components of CRISPR-Cas9 necessary as a starting point for

engineering the system to work in eukaryotic cells: Cas9, crRNA, and

tracrRNA. Appx75028-34(¶¶66-70). He understood that tracrRNA was

a necessary part of the CRISPR complex responsible for cutting DNA.

Specifically, he understood from a March 2011 publication (Appx18383-

18447) by Dr. Emmanuelle Charpentier and others that tracrRNA

formed a persistent duplex with crRNA and that this RNA duplex formed

a complex with Cas9—the cutting complex that cleaved DNA.

Appx74998-99(¶6); Appx75028-34(¶¶66-70); Appx76211-13(¶5).

     In August 2011, Zhang designed and ordered a vector to express

tracrRNA and pre-crRNA in eukaryotic cells. Appx7503435(¶79). By

late 2011, he successfully used this system, which included his codon-

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optimized (humanized) Cas9 from S. thermophilus bacteria, in proof-of-

concept experiments to cleave DNA in human cells. Appx7503538(¶¶80-

82,84); Appx76210-16(¶¶3-9).

     B.    January-June 2012: Zhang Continues To Develop
           Eukaryotic Dual-Molecule RNA CRISPR-Cas9 Systems

    Given his 2011 successes, Zhang included in a January 2012 grant

proposal an engineered, eukaryotic dual-molecule RNA CRISPR-Cas9

system. Appx18231; Appx75039-41(¶¶87-91).

    Zhang then started experimenting with a different Cas9 ortholog

(SpCas9), from S. pyogenes bacteria; but SpCas9 was not expressing as

well in human cells as his hStCas94 system. Appx75043-45(¶¶96-98); see

also Appx75916(¶6). On March 1, 2012, Zhang created a design for a

human-codon-optimized version of SpCas9.            Appx75045(¶99).      Zhang

then showed that his engineered hSpCas9 properly expressed and formed

an active Cas9:RNA complex to cleave DNA in a eukaryotic cell.

Appx75048-50(¶¶106-08).




4 An “hStCas9” means Cas9 from S. Thermophilus (“St”) that has been
engineered for translation in human cells via codon optimization (“h”
means “humanized”).
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     With this success, Zhang modified the hSpCas9 to facilitate

delivery into the nucleus; with improved delivery into the nucleus, the

hSpCas9 system could efficiently cut genomic targets.            Appx75051-

52(¶¶110-13). Throughout 2012, Zhang continued planning and running

successful experiments using dual-molecule RNA hSpCas9 systems in

eukaryotic cells. Appx5566–5570.

     As part of his 2012 work, Zhang collaborated with Dr. Luciano

Marraffini of Rockefeller University.       Marraffini focused solely on

prokaryotic CRISPR systems; he was not privy to all of Zhang’s

eukaryotic experiments. Appx75041-43(¶¶93-95). Neither Marraffini

nor his lab performed CRISPR-Cas9 experiments in eukaryotic cells. Id.

     C.    June 26, 2012 Conception Of Count 1: Zhang Adds
           Single-Molecule RNA (sgRNA) Experiments To His
           Continuing Dual-Molecule RNA Work

     On June 26, 2012, Zhang received an email from Marraffini about

a single-molecule version of CRISPR-Cas9 RNA that Marraffini learned

about at a public conference. Appx77636; Appx75052-53(¶114). The

email referenced only the bare sgRNA design fusing the crRNA and

tracrRNA—RNAs of which Zhang was already aware—into one molecule.

Appx77636-37.      Neither the email nor anyone presenting at the


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conference discussed any technical solutions for the challenges of

creating a functional eukaryotic CRISPR-Cas9 system.

     After learning of the sgRNA variation, Zhang designed experiments

to use sgRNA with his functioning hSpCas9 system, in addition to

continuing his work with dual-molecule RNA systems.              Appx75005-

07(¶¶19-22); Appx75920-30(¶¶14-25). Contrary to CVC’s false narrative

(CVCBr16), Zhang did not merely “plug in” sgRNA into standard vectors

and methods from his prior TALENs research. Before CVC’s public

disclosure of sgRNA, Zhang had already developed vectors and methods

specifically tailored for eukaryotic CRISPR-Cas9 systems and had

overcome the key challenges for making a functional eukaryotic CRISPR-

Cas9 system.     Appx74999(¶7); Appx75002(¶13); Appx75024-62(¶¶59-

131). Thus, his eukaryotic CRISPR-Cas9 systems were ready for use,

including with an sgRNA.       As the PTAB found, Zhang applied his

knowledge to formulate a definite and permanent idea of a functioning

eukaryotic sgRNA CRISPR-Cas9 system. Appx181-82.

     D.    July 2012: Zhang Creates A Functional Eukaryotic
           sgRNA System, Thereby Reducing Count 1 To Practice

    By July 20, 2012, Zhang successfully used his sgRNA-hSpCas9

system to cleave a genomic target in eukaryotic (mouse) cells.

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Appx75066-72(¶¶140-49); Appx75920-36(¶¶14-32); Appx76553-54(¶¶35-

36). After receiving the results of a surveyor assay on July 20, 2012,

Zhang recognized and appreciated the cleavage product showed success,

and immediately directed his student to repeat this experiment, which

again confirmed success. Appx7507390(¶¶150-69); Appx75935-58(¶¶31-

33); Appx76553-56(¶¶37-43).

    Zhang also enlisted a third-party lab to sequence the DNA from the

experiment, which further confirmed successful cleavage. Appx75085-

88(¶¶164-66); Appx75948-57(¶¶45-58).

     E.    October 5, 2012: Zhang Submits His Manuscript To
           SCIENCE Evidencing And Corroborating His Actual
           Reductions To Practice of Count 1

     On October 5, 2012, Zhang submitted a manuscript to SCIENCE,

describing his successes with sgRNA and dual-molecule RNA CRISPR-

Cas9 systems in both mouse and human cells.                   Appx77018-53;

Appx75012-16(¶¶31-38). After peer review, SCIENCE published it online

on January 3, 2013, as Cong 2013.         Appx5566-5570.       At that time,

Doudna described Cong 2013, and an accompanying article published

with it in SCIENCE, as removing “a huge bottleneck in both research and

the development of human therapeutics.” Appx82044.


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     Highlighting the enormous impact of Cong 2013, it is the most

highly cited CRISPR article in history. Appx75016(¶39).

     Zhang’s laboratory became a leader of the resulting CRISPR

revolution, distributing his engineered eukaryotic reagents to more than

2,800 institutions located in 71 countries in response to more than 57,000

requests. Appx75016-18(¶¶39-42).

     F.    Summary Timeline

    A timeline contrasting Zhang’s experiments, starting with his dual-

molecule RNA experiments in 2011 and his sgRNA experiments in mid-

2012, with CVC’s work follows:5




5   Broad created this timeline for this brief to summarize the record
evidence.
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                Timeline of Key Dates




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      It was Zhang’s work, starting well before CVC’s alleged conception,

that allowed him to determine the technical features of an operable

CRISPR-Cas9 eukaryotic system. As the PTAB found, “determination of

those features indicated that the Broad inventors had a definite and

permanent idea of a system in eukaryotic cells, which lead them to an

actual reduction to practice earlier than the CVC inventors.” Appx182.

IV.   The Decision On Preliminary Motions

      Interferences proceed in two phases, a preliminary-motions phase

and a priority phase. The preliminary-motions phase may address issues

that determine who will be the Junior Party and the Senior Party when

determining priority in the second phase. Each party has the burden of

persuading the PTAB by a preponderance of the evidence to grant the

relief sought in its motions (both preliminary and for priority). See 37

C.F.R. § 41.121(b).

      In its Motion 1, CVC sought the benefit of the filing date of P1, its

earliest provisional application, as its effective filing date; alternatively

CVC sought benefit of P2 or P3. If CVC succeeded in showing P1 or P2

was a constructive reduction to practice of Count 1, it would have been

the Senior Party. CVC did not.


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      The PTAB found that CVC failed to show that P1 or P2 adequately

described an embodiment of Count 1, in part because P1 and P2 reported

only an in vitro, cell-free test tube experiment and unsupported

assertions that the system would work in far more complicated

eukaryotic cells.       See, e.g., Appx81; Appx102-05; Appx15679-80;

Appx15682-83.

      The PTAB recognized that where, as here, there is significant

unpredictability in the art, many known obstacles, and prior art failures

with similar systems, more in the way of description is required (e.g.,

“specific instructions or conditions” or eukaryotic experiments). Appx90-

91. The PTAB ultimately determined that “a preponderance of the

evidence indicates possession would not have been understood” based on

the disclosures of P1 or P2. The PTAB awarded CVC benefit only of the

January 28, 2013 filing date of P3, which included a eukaryotic

experiment. Appx102-03.

      These rulings impacted the proceedings in two ways relevant to this

appeal:

      First, CVC remained the Junior Party with the burden of proof on

priority.


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     Second, because it is undisputed on appeal that Broad had a

corroborated actual reduction to practice no later than October 5, 2012,

the sole issue now is whether substantial evidence supports the PTAB’s

findings that CVC failed to prove conception or reduction to practice

before October 5, 2012.

V.   The Decision On Priority

     In the priority phase, the motions relevant to CVC’s appeal are

Broad’s Motion 5 for Priority and CVC’s Motion 2 for Priority. As to

Broad’s motion, the PTAB found that Broad showed a corroborated

actual reduction to practice at least as early as October 5, 2012, when

Zhang submitted the manuscript to SCIENCE.5

     CVC’s priority motion argued conceptions of Count 1 as of March 1,

April 11, May 28, and June 28, 2012, and further asserted actual

reductions to practice by August 9, 2012 in zebrafish cells and October

31, 2012 in human cells. The PTAB denied CVC’s motion finding: (1)

CVC did not show the zebrafish experiments were an actual reduction to




5 Because the PTAB found that Broad’s October 5, 2012 date predated

any conception or reduction to practice by CVC, it did not resolve whether
Broad reduced to practice by July 20, 2012. Appx169:9-12.
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practice, and (2) CVC did not establish conception before October 5,

2012.6

     A.    CVC Failed To Show Conception Before October 5, 2012

     The PTAB examined CVC’s evidence allegedly showing that its

inventors had complete conceptions of a CRISPR-Cas9 system that

functioned in eukaryotic cells as of CVC’s proffered conception dates and

found that CVC had not proven conception as of any of its alleged dates,

nor any time before October 5, 2012.

     The PTAB found that CVC’s inventors and the scientists

collaborating with them—all “of at least ordinary skill”—engaged in a

“prolonged period of extensive research, experiment and modification.”

Appx158-59. The PTAB found that CVC’s inventors’ communications

surrounding their experiments reflected “uncertainty that so undermines

the specificity of the inventor’s idea that it [was] not yet a definite and

permanent reflection of the complete invention as it [would] be used in

practice.” Id.




6 Given these determinations, the PTAB did not need to address CVC’s

alleged October 31, 2012 reduction to practice. Appx137:7-13.
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     The PTAB also found that CVC’s inventors lacked any definite and

permanent idea for achieving a functioning eukaryotic system. Appx157.

The PTAB found, instead, that CVC’s inventors merely had a system they

“hoped would work in eukaryotic cells.” Appx159.

     The PTAB also made multiple credibility determinations adverse to

CVC. E.g., Appx155. Moreover, the PTAB rejected CVC’s argument that

success of other independent researchers, including Zhang, who were

unconnected to CVC’s inventors and who did not have CVC’s alleged plan

in hand, somehow proved CVC’s conception. Appx179-80.

     Thus, the PTAB found that CVC did not show a complete

conception.

     B.    CVC Failed To Show An Actual Reduction To Practice
           In Zebrafish

     The PTAB rejected CVC’s argument that its zebrafish experiments

were an actual reduction to practice. It is noteworthy that CVC did not

even allege that its zebrafish experiments were a success during the

earlier 048 Interference; rather CVC’s earliest alleged eukaryotic actual

reduction to practice was October 29, 2012, corresponding to its human

cell experiments.     Appx18286.         CVC’s reliance on the zebrafish



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experiments is a litigation-inspired resurrection of a failed experiment

that never saw the light of day before this Interference.

      The PTAB made numerous adverse fact-findings and credibility

determinations regarding to the zebrafish experiments. For example, the

PTAB noted that, “the apparent importance of the experiments” made it

“unclear why [CVC’s collaborator Dr. Florian Raible] abandoned them if

he believed the CRISPR-Cas9 system designed by the CVC inventors was

producing positive results in fish cells.”       Appx135.       Weighing the

evidence, the PTAB found “[i]t seems more likely that Dr. Raible’s

abandonment of the project indicates that he did not recognize any

success in 2012,” particularly given that after unsuccessful experiments,

he “abandoned the project, despite, in his words the ‘massive interest’ in

field.”   Appx135-36.     The PTAB found that CVC failed to point “to

contemporaneous evidence showing that Dr. Raible considered the

results of the 9 August 2012 experiment to have been successful.”

Appx125.

      The PTAB recognized that successful use of the CRISPR-Cas9

system in zebrafish would have been news about which Doudna and Dr.

Martin Jinek would have been told, and would have remembered.


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Appx132.    “Dr. Doudna testified that getting the genome editing []

CRISPR-Cas9 system to work in a fish cell would have been of broad

interest and would be publication-worthy in a high impact journal in

2012.” Id. The PTAB found that “[i]t is unlikely that Dr. Doudna and

Dr. Jinek [were] told of results understood by Drs. Chylinski and

Charpentier to be the first successful gene modification in a eukaryotic

cell by a CRISPR-Cas9 system and forgot it.” Appx131. In light of this

evidence, the PTAB found that “CVC over-emphasizes isolated words by

its inventors to argue that they recognized and appreciated Dr. Raible’s

results.” Id.

     The PTAB further noted that the zebrafish results were never

published, nor even mentioned in CVC’s P2 or P3 applications, both filed

after the zebrafish experiment. Appx132.

     The PTAB was not persuaded by CVC’s declaration testimony,

finding that contemporaneous lab records contradicted testimony that

the experiment was recognized as a success. For example, Dr. Krzysztof

Chylinski’s August 9, 2012 email to Charpentier merely stated that

“there is a hint it might work but we shouldn’t be overexcited now.”

Appx126. As to this “hint,” the PTAB found it was unclear if the email


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even referred to zebrafish. Appx127. The PTAB also did not credit

Chylinski’s    declaration       testimony        that       contradicted    the

contemporaneous documents. Appx129.

VI.   The PTAB’s Determinations Relevant Only To Broad’s
      Conditional Cross-Appeal

      The PTAB denied Broad’s Motion 2, which sought to broaden the

count to enable Broad to present proofs regarding Zhang’s dual-molecule

RNA research and also denied Broad’s Motion 3, which sought to

designate certain claims as not corresponding to the sgRNA-limited

Count 1. In doing so, the PTAB first addressed a claim-construction issue

related to both motions:          ascertaining the broadest reasonable

interpretation of Broad’s claim term “guide RNA.”

      The PTAB acknowledged that Broad presented persuasive evidence

that “guide RNA” includes both single- and dual-molecule configurations,

but ultimately said it was unable to conclude, after reviewing certain

extrinsic evidence, “that the term ‘guide RNA’ was well known in the art

to mean either a single or a dual RNA molecule configuration.” Appx26.

Relying on one non-definitional sentence in Broad’s specification, the

PTAB    limited   “guide    RNA”     to   “only      a    single-molecule    RNA

configuration.” Id.

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                        SUMMARY OF ARGUMENT

     The PTAB correctly recited and applied the legal standard from

Burroughs, 40 F.3d at 1228, that conception “is complete only when the

idea is so clearly defined in the inventor’s mind that only ordinary skill

would be necessary to reduce the invention to practice, without extensive

research or experimentation.” Appx138. In contrast, a “conception is not

complete if the subsequent course of experimentation, especially

experimental failures, reveals uncertainty that so undermines the

specificity of the inventor’s idea that it is not yet a definite and permanent

reflection of the complete invention as it will be used in practice.”

Burroughs, 40 F.3d at 1229; Appx138-39. At both parties’ urging, the

PTAB applied this objective standard and used it to make many findings

adverse to CVC, including three key fact-findings:

     Finding #1:            The PTAB found that CVC’s inventors and

collaborating scientists “were of at least ordinary skill” and that they

engaged in a “prolonged period of extensive research, experiment, and

modification,” in contrast to the exercise of ordinary skill without

extensive    research       and   experimentation.       Appx158-59         (quoting

Burroughs, 40 F.3d at 1230).             Based on this finding, the PTAB


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determined that CVC’s inventors failed to establish a complete

conception. Id. This finding alone would warrant affirmance.

     Finding #2:      The PTAB found that CVC’s inventors’ idea fell

squarely within Burroughs’s category of incomplete conceptions:

     [W]e are persuaded that the communications surrounding
     these experiments reflect “uncertainty that so undermines the
     specificity of the inventor’s idea that it [was] not yet a definite
     and permanent reflection of the complete invention as it
     [would] be used in practice.”

Appx158-59 (quoting Burroughs, 40 F.3d at 1230 (revisions to

Burroughs’s quotation original to the PTAB)).

     The PTAB’s fact-finding was supported by the objective,

contemporaneous evidence that many groups of scientists working with

or at CVC’s behest and armed with CVC’s alleged plan were unable to

achieve an actual reduction to practice without extensive research,

experimentation, and modification. Specifically, CVC enlisted a veritable

who’s-who of eukaryotic-genome-editing experts—working with cells

from worms, yeast, mice, plants, medaka fish, zebrafish, and humans—

with the hope that one might find a path to success:6




6 Broad created this demonstrative for this brief to summarize the record
evidence.
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See Appx83470(267:22-268:7); Appx83851(107:6-22); Appx70024-25;

Appx68835. Although they had CVC’s alleged plan in hand, none of these

world-class labs reported any success before October 5, 2012. And this

was no ordinary project. These extraordinarily skilled scientists knew

that there would be “massive interest” in any success and publication in

a “high-impact” journal. Appx135.

     CVC attempts to downplay the struggles and failures of these

expert groups and its own inventors, contending that in “only four

months” CVC was able to actually reduce the invention to practice by

October 31. CVC misses the point in two key regards. First, the PTAB

found that CVC engaged in extensive research, experiment, and

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modification during that period. Second, regardless of how long they took

(and the PTAB did not find it took only four months), the inventors’

communications during that period revealed that they lacked a settled

plan before conducing the ill-fated experiments and did not have a

definite and permanent idea of how to address the obstacles they

encountered. Appx156-57.

     Finding #3: The PTAB also found that “CVC does not direct us to

evidence that any of the inventors had a definite and permanent idea of

an sgRNA CRISPR-Cas9 system that would work to edit DNA in

eukaryotic cells, particularly when they encountered what was perceived

as design problems in their system at that time.” Appx157. The PTAB

found, instead, that CVC’s inventors merely had a system they “hoped

would work in eukaryotic cells.” Appx159.

     The PTAB made multiple credibility determinations—such as

finding that the contemporary evidence contradicted CVC’s present-day

declaration testimony. For example, the PTAB rejected the inventors’

testimony that they had definite plans for a functional CRISPR-Cas9

system, finding that “their statements prepared for this proceeding do

not reflect these contemporaneous communications.” Appx155.


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     Unable to dispute the substantial evidence supporting the PTAB’s

findings, CVC accuses the PTAB of “disregard[ing] unrebutted objective

evidence that CVC’s invention was ready to be handed off to skilled

mechanics” based on the success of five other unrelated labs, including

Broad.   CVCBr28-29, 35-37.      CVC’s accusation is false; the PTAB

squarely addressed this evidence of other labs’ alleged success in the

context of CVC’s conception argument:

     CVC attempts to shift our focus to the activities of other,
     competing inventors, rather than on the activities of its own
     inventors. We are not persuaded that these other activities
     are evidence of the CVC inventors’ ideas or of their conception.

Appx179-80. The PTAB rightfully rejected CVC’s argument that alleged

success of other researchers, unconnected to CVC’s inventors and without

CVC’s alleged plan in hand, somehow proved CVC’s conception.

     In rejecting CVC’s reliance on the success of Broad’s Zhang, the

PTAB found that “[t]he Broad inventors’ activities and ideas do not inure

to CVC, at least because CVC never submitted anything to the Broad

inventors for testing.” Appx180. Instead, the PTAB found that Zhang

already had independently determined the “technical features necessary

to achieve success” and that “determination of those [technical] features

indicated that the Broad inventors had a definite and permanent idea of

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a system in eukaryotic cells, which lead them to an actual reduction to

practice earlier than the CVC inventors.” Appx182.

     CVC incorrectly accuses the PTAB of making two legal errors.

     Purported Legal Error on Conception #1: CVC asserts that

“this Court’s precedents required the PTAB to determine whether CVC’s

invention was sufficiently complete that it was ready for skilled artisans

to reduce it to practice without further invention.” CVCBr2. But, CVC

never raised this as the legal standard for conception before the PTAB

and so it is inappropriate for CVC to assert the PTAB erred on a point

never brought before it. Before the PTAB, CVC advanced the “without

extensive research or experimentation” legal standard, citing Burroughs.

Appx66858(quoting Burroughs, 40 F.3d at 1228). It appears that CVC

now advances this new formulation because it cannot overcome the

PTAB’s findings, including that CVC and its collaborators engaged in

“extensive research, experiment, and modification.”

     Purported Legal Error on Conception #2: CVC argues that the

PTAB “legally erred by insisting that inventors must know their

invention would work for conception to be complete.” CVCBr32. The

PTAB did no such thing. Nowhere in the 23-plus pages of discussion and


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application of the Burroughs objective standard does the PTAB state any

requirement that the inventor “know” the invention would work.

Appx137-60. The PTAB explicitly stated the opposite: “The inventor need

not know that the invention will work for conception to be complete”

(Appx138) and “[w]e do not base our decision on a lack of reasonable

expectation of success by the CVC inventors” (Appx159).

     CVC’s entire argument on this point is based on two paragraphs

(Appx161-62) that were not part of the PTAB’s affirmative bases for

finding CVC did not prove conception (Appx137-60) but rather were in a

portion of the PTAB’s decision rebutting CVC’s incorrect argument that

conception was complete when CVC’s inventors knew of bare CRISPR-

Cas9 components.     The PTAB rejected this argument because CVC

ignored the functional eukaryotic system limitation in an effort to strip

Count 1 down to simply sgRNA.

     Purported APA Violation: CVC’s APA argument is based on

mischaracterizations of the PTAB’s detailed findings, which are

supported by extensive record citations and easily meet the APA

standard.




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     CVC prominently touts the fact that Doudna and Charpentier won

the Nobel Prize for their contributions to the field of CRISPR-Cas9

technology. But, however notable CVC’s in vitro, cell-free research was,

CVC failed to conceive of the subject matter of Count 1, a CRISPR-Cas9

system that operates in the trickier and unpredictable milieu of

eukaryotic cells, before Zhang did.        Unlike the PTAB, the Nobel

committee did not consider or reach any conclusion about invention of the

eukaryotic subject matter of Count 1 under U.S. patent law.

     Purported Error in Denying Motion For Benefit:                     CVC

wrongly accuses the PTAB of improperly requiring a working example or

a reasonable expectation of success when it found P1 and P2 lacked

adequate written description. The PTAB stated that it was not requiring,

as a matter of law, a working example or a reasonable expectation of

success. Appx103. Rather, the PTAB made a factual determination

based on a 2012 POSITA’s understanding and the state of the art, which

the PTAB found to be “highly unpredictable.”           Id.   Based on that

unpredictability, the failures of similar prior-art systems, and the paucity

of information in P1, the PTAB found P1 “did not disclose specific

instructions or conditions necessary for CRISPR-Cas9 activity in a


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eukaryotic cell, or indicate that no specific instructions or conditions were

necessary.” Appx91. Thus, CVC did not persuade the PTAB that a

POSITA “would have considered there to be possession, given the

experiences in the art with the similarly complex Group II intron

RNA/protein system.” Id.

                                *    *      *

     The Court need not address Broad’s conditional cross-appeal if it

affirms the priority judgment as discussed above. But if it does:

     On claim construction, the broadest reasonable interpretation of

“guide RNA” as shown by its plain and ordinary meaning, the doctrine of

claim differentiation, and the specifications is not limited to “only a

single-molecule RNA configuration” but rather includes both single- and

dual-molecule RNA configurations.

     If the Court agrees with Broad’s construction of “guide RNA,” it

should vacate and remand the PTAB’s decisions denying Broad’s Motions

2 and 3, which both relied on its incorrect and narrow interpretation.




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                         STANDARD OF REVIEW

     Because CVC was the Junior Party, CVC had the burden to show a

reduction to practice of Count 1 earlier than Broad or an earlier

conception with diligence leading to a reduction to practice.

     “Conception is a legal conclusion premised on various underlying

facts.” Invitrogen Corp. v. Clontech Laboratories, Inc., 429 F.3d 1052,

1063 (Fed. Cir. 2005). “The principles are legal, but the conclusions of

law focus on the evidence, for which the [PTAB’s] factual findings are

reviewed for support by substantial evidence.” In re Steed, 802 F.3d 1311,

1316 (Fed. Cir. 2015).

     Written description is a fact question that this Court reviews for

substantial evidence. Q.I. Press Controls, B.V. v. Lee, 752 F.3d 1371,

1380 (Fed. Cir. 2014).




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                        ARGUMENT ON CVC’S APPEAL

I.      The Court Should Affirm The PTAB’s Priority Judgment
        Because CVC Failed To Prove Conception Before Broad’s
        Undisputed Actual Reduction To Practice

        On priority, the PTAB relied on substantial evidence and applied

the correct legal standards to hold that CVC failed to show conception

before Broad’s undisputed, corroborated reduction to practice at least as

early as October 5, 2012. CVC wrongly focuses on whether substantial

evidence supports its conception arguments. But, the relevant inquiry is

whether substantial evidence supports the findings that the PTAB made;

it does, and that is dispositive.

        A.     Substantial Evidence Supports The PTAB’s Finding
               That The CVC Inventors Lacked Prior Conception

        The PTAB made three key fact-findings.

               1.      Finding #1: Persons Of At Least Ordinary Skill
                       Were Unable To Reduce The CVC Inventors’ Ideas
                       To Practice Without Extensive Experimentation

        First, the PTAB found that CVC’s inventors and the scientists

collaborating with them were “of at least ordinary skill,” yet they

“engaged in a ‘prolonged period of extensive research, experiment, and

modification’ following the alleged conception…” Appx158. Whether

“only    the        exercise   of   ordinary   skill,     rather   than    extensive

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experimentation” would have been required is a factual determination,

reviewed for substantial evidence. In re Jolley, 308 F.3d 1317, 1324 (Fed.

Cir. 2002). This fact-finding is dispositive under Burroughs, as the PTAB

found. Appx138(quoting Burroughs, 40 F.3d at 1229).

     Substantial evidence fully supports the PTAB’s findings. CVC’s

inventors enlisted many collaborating scientists, including, for example,

Dr. David Druben and his graduate student Aaron Cheng “to test sgRNA

CRISPR-Cas9 in human cells.” Appx149. The PTAB found that they

suffered “several months of failed experiments and doubt with human

cells,” as shown in extensive email correspondence with Doudna

documenting their failures. Appx158. And this was not a lone graduate

student making simple experimental errors as CVC suggests—Doudna

was in near-constant communication with Cheng, directing him on

exactly what experiments to perform and setting the parameters.7 There

can be no dispute that Cheng was under CVC’s inventors’ direction and




7 For examples of the scores of emails between Doudna/Jinek and Cheng
regarding the failed human cell experiments from April to October 2012,
see: Appx66249-50; Appx66836; Appx67067-87; Appx68465; Appx69428-
47; Appx59222-28.

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control—CVC contended to the PTAB that Cheng’s work inures to CVC’s

inventors. Appx66886.

      CVC’s inventors also enlisted Raible, “to test sgRNA CRISPR-Cas9

in zebrafish cells.” Appx149. He used techniques from his prior TALENs

genome-editing work, such as microinjection, but did not recognize any

success. Appx154-55.

      The PTAB’s fact-findings that all these skilled artisans—Drubin,

Cheng, Doudna, Charpentier, Jinek, Chylinski, Raible—were unable to

actually reduce the invention to practice without extensive research,

experiment, and modification is powerful, objective evidence that CVC’s

inventors’ “idea” was not ready to be handed off to POSITAs for reduction

to practice.

      And, as shown above, CVC’s inventors and their colleagues failed

to achieve a timely reduction to practice before October 5, 2012 not only

in zebrafish and human cells. As the chart on page 32 shows, they also

set out to implement CVC’s system in worms, yeast, mice, plants, and

medaka     fish—all   with   no   reported    success     in   2012.    See

Appx83470(267:22-268:7); Appx83851(107:6-22); Appx70024-25.



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     The lack of reported success with worms is particularly telling.

CVC’s   inventors     communicated        their   alleged    conceptions   to

worm-genome-engineering expert Dr. Meyer, who proceeded to struggle

for months. Appx67578; Appx69997. Jinek lamented after failed efforts

that there were just “too many parameters to optimize.” Appx65777; see

also Appx83854-55(120:10-121:21).

     The worm experiments did not succeed in 2012; to the contrary, a

2013 publication by Doudna and Meyer acknowledged that it was not

until they obtained guidance from Broad’s Cong 2013 article—and used

Zhang’s eukaryotic CRISPR-Cas9 system with the dual-molecule RNA

configuration—that they achieved any success. Appx82059.

           2.    Finding #2:     CVC’s    Inventors Expressed
                 Uncertainty That So Undermined The Specificity
                 Of Their Idea That It Was Not A Definite And
                 Permanent Reflection Of The Complete Invention

     Second, the PTAB found that CVC’s conception evidence fell

squarely within Burroughs’s category of incomplete conceptions:

     [W]e are persuaded that the communications surrounding
     these experiments reflect “uncertainty that so undermines the
     specificity of the inventor’s idea that it [was] not yet a definite
     and permanent reflection of the complete invention as it
     [would] be used in practice.”


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Appx158-59 (quoting Burroughs, 40 F.3d at 1230).

     The PTAB relied upon CVC’s inventors’ many communications in

the months following their alleged conceptions where they expressed

uncertainty, doubt, and confusion, and proposed ever-shifting plans to

try to overcome their failures. Throughout March-October 2012, CVC’s

inventors were reconsidering all aspects of their system (delivery

method, NLS design, RNA design, selection of appropriate promotors,

codon optimization, and more). Appx83080(79:9-17)(changing expression

strategy);   Appx83083(92:11-19)(changing           plasmid    concentration);

Appx83083-84       (92:20-93:6)(trying      codon       optimized        Cas9);

Appx83084(94:8-14)(varying        temperatures);          Appx83100(158:17-

159:3)(harvesting cells after different time periods); Appx83099(156:3-

10)(staggering transfections); Appx83081(81:6-20; 82:8-15); Appx87729-

31 (changing promoters).

     Even by October 11, 2012—after Broad’s date and many months

after CVC’s alleged conception—Jinek and Doudna were still uncertain

even as to what problem(s) were causing their failures:

     I still think the problem may be with the assembly and
     localization of the Cas9 RNP - either due to degradation of the


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     guide RNA, failure to assemble with Cas9, or failure of the
     RNP nuclear localization.

Appx67067.

     Jinek had no proposed solution. Instead, in an October 11 email to

Doudna, he identified still further potential problems, including a

potential problem “with the RNA design per se” (i.e., the sgRNA

configuration reported in Jinek 2012) and listing “a number or [sic]

reasons” for this, including:

     -RNA is not made at sufficient levels

     -RNA is expressed strongly but turns over too fast to associate
     with Cas9 posibly [sic] due to degradation by exonucleases

     -RNA is stable but does not associate with Cas9 at the right
     place and at the right time.

Appx67063. Doudna’s response reflects that she did not know which of

the many modes of failure was occurring:

     I completely agree with your analysis and suspect that one or
     more aspects of the RNA expression/stability/Cas9
     assembly/localization are problematic.

Appx67062. These were not minor problems or thoughts to optimize a

definite and permanent idea—they are fundamental obstacles to

achieving a functional eukaryotic system. Moreover, CVC’s inventors’

contemporaneous statements reveal their lack of any plan, much less the

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settled plan required for conception, for overcoming these obstacles. The

table below illustrates just some of those statements showing CVC’s

inventors’ lack of a plan for addressing obstacles including RNA

degradation, formation of a stable complex, toxicity, and navigating the

complex eukaryotic cellular milieu, including challenges presented by the

nucleus and chromatin.

Obstacles in CVC Inventors’ Statements Showing Their Lack
Eukaryotic Of A Settled Plan For Overcoming The Obstacles
Cells
RNA         “I still think that the problem may be with the assembly
Degradation and localization of the Cas9 RNP - either due to
            degradation of the guide RNA, failure to assemble with
            Cas9 or failure of the RNP nuclear localization.”
            Appx67065(Doudna, 10/11/12).

                “RNA is expressed strongly, but turns over too fast to
                associate with Cas9 - posibly [sic] due to degradation by
                exonucleases.” Appx67063(Jinek, 10/11/12).
Formation       “I do wonder if the Cas9:RNA complex is either falling
and             apart during or after injection, or if the concentration is
Persistence     too low.” Appx68463(Doudna, 8/20/12)
of
Components      “[W]e probably have an RNA expression/stability or
and             complex assembly problem.”     Appx67901(Jinek,
Complex         10/23/12)

                “RNA is stable but does not associate with Cas9 at the
                right place and at the right time.” Appx67063(Jinek,
                10/11/12)

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Toxicity        “Pretty   high   toxicity observed     (death          or
                misdevelopment).” Appx68381(Chylinski, 8/31/12)

                “An issue not touched by this is the question of off-site
                targets. This is obviously a big concern in human
                applications       (along       with        toxicity)….”
                Appx66312(Raible, 6/28/12).
Failure to      “I think we’re hoping that the Cas9 protein binds the
Act in          RNA such that the RNP is transported into the nucleus.”
Complex         Appx68085(Doudna, 9/14/12).
Eukaryotic
Milieu on       “I wonder if having a too-efficient NLS on Cas9 is
Chromatin-      actually counterproductive, if it means that Cas9 is
Bound DNA       transported before it has a chance to find and bind the
in the          guide RNA… Thoughts?” Id.
Nucleus
                “I wonder if it’s possible that Cas9 is cleaving the DNA
                but not releasing it? If this were true, perhaps altering
                (lowering) the salt concentrations in the experiment
                would make a difference.” Appx68012(Doudna,
                8/28/12).

                “Either we are not targeting the right piece of DNA (due
                to chromatin structure etc), or the problem lies with the
                RNA design per se.” Appx67063(Jinek, 10/11/12).



     The PTAB correctly found that these contemporaneous statements

revealed the unsettled nature of CVC’s purported plans. It was not only

the massive program upon which CVC embarked, the numerous failed

experiments, or their length of time, but it was also the nature of the



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“communications surrounding these experiments” that evidenced a lack

of a definite and permanent idea. Appx159.

           3.   Finding #3: CVC’s Inventors Lacked A Clear Plan
                For Overcoming The Many Obstacles To
                Achieving A Functional Eukaryotic System

     The PTAB reinforced its holding on CVC’s lack of conception by

finding a “lack of a clear plan by the CVC inventors to achieve a

functional system.” Appx183. While CVC attempted to rely on litigation-

inspired declarations to show the inventors had a plan, the PTAB found

that the witness “statements prepared for this proceeding do not reflect

[the] contemporaneous communications.” Appx155. The PTAB found

that CVC failed even to “direct us to evidence that any of the inventors

had a definite and permanent idea of a sgRNA CRISPR-Cas9 system that

would work to edit DNA in a eukaryotic cell, particularly when they

encountered what was perceived as design problems in their system at

that time.” Appx157. Ultimately the PTAB found that, “[a]lthough the

CVC inventors developed a system on 1 March 2012 that they hoped

would work in eukaryotic cells, the preponderance of the evidence

demonstrates that they did not have a definite and permanent idea of

how to achieve that result….” Appx159.

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     These findings are supported by the contemporaneous lab records

that CVC itself introduced to try to show conception. For example, to

support its March 1, 2012 alleged conception, CVC relied on Jinek’s lab

notebook entry of that date. But that entry provides only a cartoon of a

chimeric RNA without any detail, bearing the hopeful note “New idea:

adapt the [Cas9] system as a gene-targeting tool in mammalian cells.”

Appx69007. There is no indication of how they intended to accomplish

that adaptation or whether they had even considered the challenges of

accomplishing such a feat. Jinek even admitted that their “plan” was to

consider      “multiple    approaches       and      multiple      organisms.”

Appx83929(272:16-17). Addressing such generic plans, the PTAB noted

that “CVC does not direct us to more explanation or details of the

processes that the CVC inventors understood, at the time, would be

needed to achieve a functional sgRNA CRISPR-Cas9 system in a

eukaryotic cell.” Appx148.

     Over a month later, CVC’s inventors still had no idea which of a

multitude of techniques, if any, might lead to a successful eukaryotic

CRISPR-Cas9 system.        CVC relied on an April 11, 2012 Invention

Disclosure Form (“IDF”) to show conception, but that form merely

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contains a laundry-list of techniques that one might use in a research

project attempting to deliver CRISPR-Cas9 to eukaryotic cells.         The

PTAB made a finding that the IDF “does not provide many details of how

the inventors envisioned such a system would be operable.” Id.

     CVC also offered documents in an attempt to show that as of May

28, 2012 they had plans to use sgRNA CRISPR-Cas9 systems in human

cells and from June 28, 2012 showing plans in zebrafish cells. But, as

discussed above, the PTAB found this “not persuasive evidence of a

definite and permanent idea of the invention by the CVC inventors due

to the, at least perceived, subsequent experimental failures of this

design.” Appx155. And, as to sgRNA constructs in human cells, the

PTAB found that they simply led to “several months of failed experiments

and doubt.” Appx158.

           4.    The   PTAB      Made    Multiple               Credibility
                 Determinations Adverse To CVC

     The PTAB made multiple credibility determinations, which on

appeal are “virtually unassailable.” Charles G. Williams Const., Inc. v.

White, 326 F.3d 1376, 1381 (Fed. Cir. 2003). For example, the PTAB

found that “CVC cites to the inventors’ declarations as evidence that they


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had a plan to address the issues they encountered, but their statements

prepared for this proceeding do not reflect these contemporaneous

communications.”      Appx155.    Based on Doudna’s contemporaneous

statements, the PTAB specifically discredited her declaration statements

that she understood how to make a functional eukaryotic CRISPR-Cas9

system:

      But her contemporaneous statements on 11 October 2012 that
      “one or more aspects of the RNA expression/stability/Cas9
      assembly/localization are problematic” ([Appx67059]) or that
      there was contamination from controls ([Appx67067]), as well
      as suggestions to “test some alternate designs of the guide
      RNA” ([Appx67059]), does not indicate she knew how to solve
      this problem to make a functional system at the time.

Appx156. Likewise, the PTAB declined to accept Jinek’s declaration

testimony that was contradicted by his contemporaneous statements:

      But, his contemporaneous statements on 11 October 2012 …
      do not indicate he had a definite and permanent idea of a
      function [sic] system at the time.

Id.

      Substantial evidence supports the PTAB’s findings that CVC’s

inventors did not have a conception before October 5, 2012.




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     B.    CVC Falsely Accuses The PTAB Of Disregarding The
           Success Of Other Researchers Independent Of CVC

     CVC accuses the PTAB of “disregard[ing] copious unrebutted

evidence that artisans understood exactly how to reduce CVC’s invention

to practice using routine techniques—and that five separate labs (besides

CVC) promptly did.”       CVCBr2.    CVC’s claim is demonstrably false

because the PTAB addressed this argument in multiple pages of its

opinion, making several adverse fact-findings and rejecting CVC’s

argument on labs independent of CVC. Appx179-184.

     For context, this argument does not relate to the labs that

collaborated with CVC and were given CVC’s alleged plan, but rather

labs unconnected to and independent from CVC, such as Broad.

           1.    The Work Of The Independent Labs Did Not
                 Establish A CVC Conception

     The PTAB did not ignore the evidence; the PTAB addressed CVC’s

conception argument based on the work of those labs and rejected it:

     CVC attempts to shift our focus to the activities of other,
     competing inventors, rather than on the activities of its own
     inventors. We are not persuaded that these other activities
     are evidence of the CVC inventors’ ideas or of their conception.




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Appx179-80. Specifically with respect to Broad, the PTAB rejected CVC’s

argument that Broad’s independent, “quick” reduction to practice

somehow supported CVC’s conception:

      [W]e are not persuaded by CVC’s argument that because the
      Broad inventors were able to reduce to practice an
      embodiment of Count 1 “quickly and easily,” the CVC
      inventors had a complete conception. (See [Appx 81076] CVC
      Opp. 5, Paper 2567, 6:1-6:12.)

Appx180. Weighing the evidence, the PTAB found that regardless of

Broad’s success, CVC itself lacked a definite and permanent idea:

      [R]egardless of any success of the Broad inventors, the
      preponderance of the evidence presented by the parties
      demonstrated that the CVC inventors’ experimental failures
      reveal uncertainty undermining a definite and permanent
      idea of an sgRNA system that edits or cleaves DNA in a
      eukaryotic cell.

Id.

      Moreover, the PTAB found that “[t]he Broad inventors’ activities

and ideas do not inure to CVC” because “CVC never submitted anything

to the Broad inventors for testing.” Id. This is correct—Broad and CVC

did not collaborate on eukaryotic CRISPR-Cas9. As noted above, Zhang

had been conducting experiments with his dual-molecule RNA system for

more than a year before Jinek 2012, and he succeeded with sgRNA



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quickly because he had already done the hard work of determining what

was needed for a functional CRISPR-Cas9 eukaryotic system before

Jinek 2012.

              2.     The PTAB Rightly Rejected CVC’s Argument That
                     sgRNA Was All That Was Needed To Reduce The
                     Count To Practice

     CVC argues that Zhang “took chimera A [an sgRNA] from CVC’s

still-unpublished manuscript        and    proved the      invention      works.”

CVCBr47. CVC goes so far as to state, incredibly, that “[t]he PTAB all

but conceded that, had CVC hired Zhang to reduce its invention to

practice, CVC—not Zhang—would have been the inventor; every

inventive feature came from CVC,” apparently suggesting that the whole

of the invention is simply the sgRNA component disclosed in Jinek 2012.

CVCBr46 (citing Appx180-81). But the PTAB made no such concession

or finding.        To the contrary, the PTAB “decline[d] to accept CVC’s

argument that Dr. Zhang contributed nothing to the invention of Count

1.” Appx181. The PTAB further rejected CVC’s attempt to focus on the

sgRNA limitation, finding that CVC’s “argument discredits the limitation

in Count 1” that requires functionality in eukaryotic cells. Appx181-82.




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     As the PTAB found, it was Zhang who identified the “necessary

features of a functional eukaryotic system as recited in Count 1,” not

CVC. Appx182. And “determination of those features indicated that the

Broad inventors had a definite and permanent idea of a system in

eukaryotic cells, which led them to an actual reduction to practice earlier

than the CVC inventors.” Appx182. Zhang succeeded with his own plan

because he had already determined the technical features for creating a

functional eukaryotic system, not because of sgRNA (which Zhang

demonstrated is not necessary for a functional system). Id.

     CVC also accuses the PTAB of committing a “cardinal sin” by

allegedly not identifying specific technical differences between the

parties’ respective systems. CVCBr48. It is incredible that CVC accuses

the PTAB given that CVC did not dispute Broad’s evidence on the

technical differences to the PTAB. The PTAB found that:

     (i)  Broad “raises technical reasons why the Broad inventors had
     success when other eukaryotic CRISPR-Cas9 systems failed” and
     that

     (ii) “CVC fails to dispute the difference between these technical
     details of the parties’ systems.”




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Appx181. In light of CVC’s evidentiary failure, there was no reason for

the PTAB to identify specific technical differences.

     The PTAB also found that “CVC’s failures before Broad’s success by

5 October 2012 indicate there must have been differences.” Id. This

finding is based on the eminently reasonable inference that the PTAB

drew from Broad’s success in contrast to CVC’s many months of abject

experimental failures.

           3.    CVC’s Reliance On Independent Labs Suffers
                 From Other Defects

     CVC’s reliance on independent labs as purportedly establishing a

CVC conception also suffers from other defects.

     First, CVC offered no evidence that these labs were independent of

Broad. In fact, three of the other research groups included scientists

affiliated with Broad. Appx81507(¶68).

     Second, CVC offered no evidence or argument as to whether the

scientists at the five labs were of only ordinary, as opposed to

extraordinary, skill. That extraordinarily skilled artisans achieved a feat

says nothing about whether a POSITA could have done so.




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     Third, CVC offered no evidence regarding how these other labs

conducted their research, what challenges they encountered, or how they

overcame them.

     C.    The PTAB Did Not Commit Legal Error

     CVC’s brief concocts two purported legal errors. Both lack merit.

           1.    The PTAB Applied The Correct Legal Standard
                 For Conception

     As discussed above, CVC erroneously argues that the PTAB

“refused” to apply the correct “objective standard” for conception.

CVCBr2; see also infra p.60-61. But, as noted above, the PTAB applied

the well-established “without extensive research or experimentation”

conception standard from Burroughs.        This Court has repeated this

standard on numerous occasions. See, e.g., Bard Peripheral Vascular,

Inc. v. W.L. Gore & Assocs., Inc., 776 F.3d 837, 845 (Fed. Cir. 2015); Univ.

of Utah v. Max-Planck-Gesellschaft Zur Forderung Der Wissenschaften

E.V., 734 F.3d 1315, 1323 (Fed. Cir. 2013); Dawson v. Dawson, 710 F.3d

1347, 1352 (Fed. Cir. 2013).

     This “without extensive research or experimentation” standard is

exactly what CVC urged to the PTAB.             Appx66858 (CVC quoting



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Burroughs).    CVC never presented its “without further invention”

formulation as the legal standard for conception.8 It is inappropriate to

fault the PTAB for not applying a legal standard CVC did not urge below.

     CVC relies primarily on two cases, neither of which it cited before

the PTAB, for its “without further invention” formulation, Acromed Corp.

v. Sofamor Danek Grp., Inc., 253 F.3d 1371 (Fed. Cir. 2001) and Barba v.

Brizzolara, 104 F.2d 198, 202 (C.C.P.A. 1939). CVC seems to contend

that Application of Tansel, 253 F.2d 241, 244 (C.C.P.A. 1958), also

supports this formulation. None warrant deviation from this Court’s

controlling precedent in Burroughs and its progeny.

     Nowhere does Acromed recite a “without further invention”

standard for conception. To the contrary, the portion of Acromed that

CVC relies on cites Sewall, which instructs that “[c]onception is complete

when one of ordinary skill in the art could construct the apparatus




8   CVC in its reply argument, after reciting the Burroughs “without
extensive research or experimentation” standard for conception, asserted
that CVC “achieve[ed] multiple actual reductions to practice in a matter
of months and requiring no further inventive steps.” Appx85642(CVC’s
emphasis). As to the conception standard, however, CVC repeatedly and
consistently recited the Burroughs standard, even in its reply.

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without unduly extensive research or experimentation.” Sewall v. Walters,

21 F.3d 411, 415 (Fed. Cir. 1994); see Acromed, 253 F.3d at 1380 (citing

Sewall). This is the standard the PTAB applied. Appx157.

     Barba addressed a different form of priority contest than here. In

Barba, the junior and senior parties worked jointly on the same subject

matter, and, there, “the issue [was] one of originality; independent

conceptions of the invention by the respective parties [were] not

involved.” 104 F.2d at 199-200. The Barba court’s comment that “[t]he

particular means to carry out [senior party’s] conception, we think, could

be worked out by one skilled in the art without the exercise of invention”

was merely the court dismissing the purported contribution of the junior

party as not inventive in the context of their joint work. Id. at 202. Barba

did not address a situation where, as here, there are two independent

groups.

     Application of Tansel, if anything, supports the Burroughs

standard.    Tansel instructs that, for a complete conception, “[i]t is

sufficient if the inventor is able to make a disclosure which would enable

a person of ordinary skill in the art to construct the apparatus without



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extensive research or experimentation.” Application of Tansel, 253 F.2d

at 243.

             2.   The PTAB Expressly Declined To Adopt A Legal
                  Standard For Conception That Requires The
                  Inventor To “Know” The Invention Will Work, As
                  CVC Alleges

     CVC next argues that the PTAB “legally erred by insisting that

inventors must know their invention would work for conception to be

complete.” CVCBr32(emphasis in original). As noted above, however,

nowhere in the PTAB’s 23 pages discussing and applying the objective

Burroughs standard (Appx137-60) does the PTAB state any requirement

that the inventor “know” the invention would work. To the contrary, the

PTAB starts its discussion of the law of conception by stating “[t]he

inventor need not know that the invention will work for conception to be

complete.”    Appx138.    The PTAB stated that “[w]e do not base our

decision on a lack of reasonable expectation of success by the CVC

inventors.” Appx159. The PTAB then fully set forth its affirmative bases

for finding that CVC did not prove conception.

     CVC’s strained argument that the PTAB required knowledge is

based entirely on two paragraphs rebutting one of CVC’s (incorrect)


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arguments. The PTAB had already applied the correct legal standards

and found against CVC at Appx137-60, before the two-paragraph

rebuttal at Appx161-62 that CVC mischaracterizes. As discussed above

at 36, the PTAB made this statement in the context of rejecting CVC’s

attempt to ignore the Count’s requirement for a functional eukaryotic

system.

     D.    The Remainder          Of     CVC’s       Objections      Regarding
           Conception Fail

     The remainder of CVC’s objections do not overcome the substantial

evidence supporting the priority judgment.

           1.    CVC’s Criticism Of The PTAB For Finding The
                 CVC Inventors’ Failed Eukaryotic Experiments
                 Relevant To Conception Is Legally Incorrect

      CVC criticizes the PTAB for analyzing in depth CVC’s inventors’

and their colleagues’ statements and experiments following CVC’s

alleged conceptions. This criticism is unwarranted and unfair because

CVC asked the PTAB to rely on these activities: CVC’s central argument

before the PTAB on priority was that its inventors had a complete

conception because of the alleged “speed and ease” with which they

allegedly achieved “straightforward actual reductions to practice” in



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zebrafish and human cells. See, e.g., Appx66855-56; Appx66880. Indeed,

the section of CVC’s priority motion titled “reduction to practice required

only ordinary skill” cites only to the activities of the CVC inventors in

purportedly achieving reductions to practice in zebrafish and human cells

with ease.

     Given CVC argued for its conception based on its inventors’ alleged

ease in achieving actual reductions to practice, the PTAB analyzed the

evidence of CVC’s purported reductions and found that CVC’s inventors

did not achieve straightforward actual reductions to practice but instead

encountered multiple failures.

             2.   CVC’s Assertion That Its Design Never Changed
                  From Its Alleged Conception To Its Alleged
                  Reductions To Practice Is Contrary To The
                  PTAB’s Findings, All Supported By Substantial
                  Evidence

     CVC faults the PTAB because it “did not mention that CVC never

changed its invention in any material way.” CVCBr26; see also id. at 32.

But CVC ignores that the PTAB affirmatively found the opposite—that

the CVC inventors engaged in a “prolonged period of extensive research,

experiment, and modification” following the alleged March 2012

conception.

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      The   evidence     supports   the   PTAB’s     finding    of   extensive

modification. Over the course of these many failures, CVC’s inventors

changed a myriad of experimental features in a futile effort to get the

system to work.          See Appx83080(79:9-17); Appx83083(92:11-19);

Appx83083-84(92:20-93:6);      Appx83084(94:8-14);        Appx83100(158:17-

159:3); Appx83099(156:3-10); Appx83081(81:6-20; 82:8-15); Appx87729-

31.

      CVC’s attempt to blame the graduate student working with Doudna

on the human cell experiments is unavailing. Cheng operated under the

supervision of Doudna and Jinek and with constant communication from

April to October 2012 (see supra fn.7); Doudna and Jinek were directing

Cheng what to try next.

            3.   There Is No Basis For Ignoring The Inventors’
                 Contemporaneous     Communications      That
                 Document Their Lack Of A Plan

      CVC’s amici allies (with ties to Doudna)9 urge the Court to ignore

CVC’s inventors’ contemporaneous communications so as not to somehow



9  Dr. Thomas Cech, on the Amicus Brief of Scientists, was Doudna’s
mentor when she was a postdoctoral student in his lab.
https://www.britannica.com/biography/Jennifer-Doudna.

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impede the scientific process. Dkt18 at 13. But, it was CVC itself that

introduced these email communications from its lab into the record—as

purported evidence of corroboration and diligence.

      Unfortunately for CVC, the emails show that CVC’s inventors had

no definite plan in the first place; and the PTAB agreed:

      CVC does not directly address these e-mail statements in its
      Reply Brief, arguing only that Broad “cites correspondence
      with its colleagues as evidence of CVC’s reasonable diligence,
      which . . . Broad barely challenged.” ([Appx85659]CVC Reply
      2, Paper 2744, 18:15-17.) CVC does not provide any reason
      why these communications are not also evidence [of] the
      inventors’ thoughts and understandings around CVC’s
      asserted conception date.

Appx154.

II.   The PTAB Correctly Rejected CVC’s Originality Challenge

      CVC’s originality challenge is based on its argument that sgRNA is

the invention, Zhang contributed nothing inventive, and that the PTAB

“identified nothing at all in the count—the invention—Zhang did not get

from CVC.”    CVCBr44.     This argument again relies on an incorrect


      Regeneron, which submitted the other amicus brief, is heavily
invested in, collaborates with, and licenses patent rights from a CRISPR-
Cas9 company Doudna founded. https://ir.intelliatx.com/news-
releases/news-release-details/regeneron-and-intellia-therapeutics-
expand-collaboration-develop.

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characterization of the invention as simply the use of an sgRNA. For the

reasons discussed above on pages 54-56, this argument is incorrect.

      Viewing all the limitations of Count 1, including the required

eukaryotic functionality, the record shows that Zhang had possession of

all features of the count by October 5, 2012, and that he possessed the

most fundamental features even earlier. He determined the “necessary

technical features” to achieve a functional eukaryotic system. Appx182.

The only element of Count 1 Zhang learned from CVC’s public disclosures

in June 2012 was the sgRNA species—a configuration that is neither

necessary nor sufficient for a functional eukaryotic system.

      Ultimately, CVC ignores that it, not Broad, had the burden of

proving its own earlier conception (and diligence to a later reduction to

practice).     In an interference, unlike a contest involving alleged co-

inventors, the PTAB does not compare the parties’ “inventive”

contributions. Rather, “priority of invention goes to the first party to

reduce an invention to practice unless the other party can show that it

was the first to conceive of the invention and that it exercised reasonable

diligence in later reducing that invention to practice.” Goldfarb, 154 F.3d

at 1327. CVC’s attempts to create an additional requirement that the

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first party to reduce the invention to practice needs to prove its

contributions were inventive is not the law.

III. CVC’s APA Challenge Fails Because It Rests On False
     Claims That The PTAB Ignored Evidence

     The PTAB’s decisions comprise 180-plus pages, hundreds of record

citations, and numerous credibility findings. They easily pass the APA’s

reasoned decision-making requirement. CVC’s long-shot arguments to

the contrary highlight the weakness of its appeal.

     Broad addresses CVC’s specific objections below; but the Court need

not reach them—CVC’s APA argument fails at the outset as it was CVC’s

burden to demonstrate that any alleged APA violations were not

harmless. 5 U.S.C. § 706; see, e.g., Shinseki v. Sanders, 556 U.S. 396,

406, 409 (2009). CVC did not even attempt to address this issue, and

CVC cannot address this necessary element for the first time in its reply.

See Atlanta Gas Light Co. v. Bennett Regul. Guards, Inc., 33 F.4th 1348,

1356, fn. 3 (Fed. Cir. 2022) (“Arguments raised for the first time in a reply

brief are not properly before this court.”). That failure alone warrants

rejection of CVC’s APA argument.




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     A.    The PTAB Considered And Expressly Rejected The
           Evidence CVC Erroneously Claims The PTAB Ignored

     CVC asserts that the PTAB “failed to consider evidence from

CRISPR luminaries Barrangou, Sontheimer and Marraffini that skilled

artisans” would have had an expectation of success implementing

CRISPR-Cas9 in eukaryotic cells.         CVCBr50.     CVC introduced this

evidence to the PTAB only in a reply brief. Appx85663-85665(CVC Reply

2 at 22:18-24:6). Nevertheless, the PTAB expressly cited this evidence

and rejected it as irrelevant to conception because, as CVC itself urged,

a POSITA’s expectation of success is irrelevant to conception.          See

Appx159 (“[W]e are not persuaded by either party’s evidence of what

those in the art expected at the time. (See [Appx81220-226]Broad Opp.

2, Paper 2569, 18:23-24:12; see [Appx85663-85665]CVC Reply 2, Paper

2744, 22:18-24:6.”)).

     CVC also asserts that the PTAB erred by “fail[ing] to consider

evidence that CVC subjectively believed its invention would work in

eukaryotic cells” and their “confidence” they could achieve such a system.

CVCBr51. But, as Burroughs instructs, an inventor’s subjective belief

that their invention will work is irrelevant to conception. Following this


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law, the PTAB properly did not base its conception determination on the

inventors’ subjective beliefs as to whether they could achieve a functional

system, but rather “on the facts of how specific and settled the inventor’s

ideas were at the time asserted.” Appx138. With its focus thus correctly

trained on whether CVC’s ideas were settled, the PTAB found that CVC’s

inventors’ contemporaneous expressions of doubt and uncertainty as to

how to proceed “indicate[] to us they had sufficient uncertainty that

undermines CVC’s arguments of a definite and permanent idea of an

sgRNA CRISPR-Cas9 system to be used in a eukaryotic cell.” Appx160.

        CVC’s contention appears to be that its inventors’ alleged

confidence they would one day succeed should have offset the

contemporaneous evidence of their uncertainties regarding how to do so.

Rejecting CVC’s argument does not violate the APA. Here, substantial

evidence of CVC’s inventors’ doubts, uncertainties as to how to overcome

their     failures,   and    ever-shifting     plans—all      corroborated   by

contemporaneous documentary evidence—demonstrate the lack of any

definite and permanent idea for an operable system.

        CVC also argues that the “PTAB never explained why a four-month

reduction to practice amounts to ‘perplexing’ difficulties ‘every step of the

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way.’” CVCBr51. But, as discussed above, CVC misses the point that it

was not just the length of time the CVC inventors failed, it was also the

corresponding communications showing the lack of any plan. See supra

p.47-48.

     CVC asserts that the PTAB failed to consider evidence of the five

independent and unrelated labs that reported successful eukaryotic

experiments.      As discussed earlier, p.52-56, the PTAB expressly

considered this evidence but still found against CVC.

     Finally, CVC asserts the PTAB failed to consider the fact that

CVC’s plans never changed. Quite to the contrary, the PTAB considered

this issue but found CVC engaged in extensive modification. See p.62-63.

     B.     CVC Did Not Dispute Before The PTAB Broad’s
            Evidence That There Were Material Technical
            Differences Between The Parties’ Systems; It Cannot
            Do So Now

     CVC accuses the PTAB of committing “cardinal sins” by allegedly

not identifying specific technical differences between the parties’

respective systems. The attack fails on multiple levels.

     First, as discussed above (p.55-56),        the PTAB considered the

technical differences between the two systems and found that Broad


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identified differences between the parties’ systems and that “CVC fail[ed]

to dispute the difference between these technical details of the parties’

systems.” Appx181. And because CVC never disputed the technical

differences, it cannot do so on appeal for the first time.

     Second, CVC’s argument relies on a false contention that “Broad

conceded that none [of the adaptations Zhang made] required more than

ordinary skill.”   CVCBr48(CVC’s emphasis).           Broad made no such

concession. Indeed, Broad said the opposite: “Zhang Did Not Use Only

‘Ordinary Skill’ And ‘Routine Techniques’ In Creating His Eukaryotic

CRISPR-Cas9 System.” Appx85770. Broad explained that CVC itself

had identified no fewer than 12 adaptations Zhang made to the natural

system to achieve eukaryotic functionality. It further explained that

“whether allegedly routine or not” individually, the selection and

combination of techniques was certainly not routine.                Id.   It is

unfathomable how CVC could argue Broad “conceded” the point.

     Third, CVC’s appeal brief now points to various aspects of a

eukaryotic CRISPR-Cas9 system, such as specific types of promoters,

NLSs, codon optimization strategies, vectors, and other adaptations that

CVC may have attempted at different times, mixing and matching them,

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over the course of its failed experiments. CVCBr48-49. CVC ignores that

it was Zhang who had a specific plan for engineering a functional

eukaryotic CRISPR-Cas9 system using specific techniques and CVC did

not, as the PTAB found.

     C.    It Was Not Arbitrary And Capricious For The PTAB To
           Reject CVC’s Microinjection Arguments

     Lastly, CVC asserts that the PTAB “faile[d] to respond

meaningfully to arguments and evidence about microinjection,” including

evidence allegedly showing that this delivery method “obviates most, if

not all” the obstacles to use of CRISPR-Cas9 in eukaryotic cells.

CVCBr52-53. This is wrong on two levels.

     First, the PTAB acknowledged that microinjection was one of many

different potential delivery methods presented in the laundry-list of

delivery techniques in CVC’s IDF. Appx147. But, as the PTAB found,

the IDF “does not provide many details of how the inventors envisioned

such a system would be operable.” Appx148.

     Second, the PTAB did not need to address CVC’s facially

implausible argument that microinjection was a magical cure-all for the

challenges of eukaryotic cells. Synopsys, Inc. v. Mentor Graphics Corp.,


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814 F.3d 1309, 1322 (Fed. Cir. 2016) (the Board is not required “to

address every argument raised by a party or explain every possible

reason supporting its conclusion.”). In fact, the real-world failures using

microinjection in worms and zebrafish demonstrate that microinjection

did not overcome the hurdles to eukaryotic uses. Indeed, after certain

microinjection worm experiments failed in 2012, Doudna wrote to her

team that she “wonder[ed] if the Cas9:RNA complex is either falling

apart during or after injection, or if the concentration is too low.”

Appx68463. Tellingly, none of P1, P2, or P3 include an example using

microinjection to deliver a functional CRISPR-Cas9 system into a

eukaryotic cell.

     The record also includes Broad’s expert’s testimony explaining the

difficulties of microinjection.   Appx50575-78(¶¶193-98).          As Mirkin

explained, prior-art attempts to use microinjection to deliver Group II

introns (a prokaryotic system) to eukaryotic cells failed.          Id., ¶197.

Indeed, researchers struggled for decades attempting to implement that

system in eukaryotic cells, despite their use of microinjection.

Appx81372(¶14).



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      CVC also criticizes the PTAB for “refus[ing] to resolve whether

microinjection succeeded,” even if the CVC inventors did not recognize

the success, because a finding of success in zebrafish might somehow help

CVC’s conception argument. CVCBr54. But, as the PTAB found, even if

the CVC inventors had achieved an unrecognized success, it was the

communications around these experiments that showed the CVC

inventors did not have a settled plan for achieving a successful eukaryotic

system. The lack of a settled plan is dispositive on conception, regardless

of whether there was an unrecognized success. The PTAB explained that

“at best, the CVC inventors encountered one unrecognized positive

result” but their communications nonetheless reflected “uncertainty that

so undermines the specificity of the inventor’s idea that it [was] not yet a

definite and permanent” one. Appx159.

IV.   Substantial Evidence Supports The PTAB’s Finding That P1
      And P2 Lacked Written Description Support For Count 1

      Substantial evidence supports the PTAB’s findings that neither P1

nor P2 included a written description sufficient for a POSITA to conclude

that CVC’s inventors possessed the invention of Count 1.




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     Consistent with CVC’s lack of a clear plan and months of struggles,

neither P1 nor P2 disclosed a working eukaryotic example. Notably,

while CVC alleges it had a complete conception in March 2012 (and a

zebrafish reduction to practice in August), P2, filed October 19, 2012, still

contained no working examples in eukaryotic cells. It is undisputed that

P1 and P2 disclose merely the same cell-free test tube experiments in

Jinek 2012.

     The PTAB extensively evaluated the evidence to determine

whether, despite the lack of a working eukaryotic example, P1 or P2

nevertheless described the invention of Count 1 “in sufficient detail that

one skilled in the art can clearly conclude that the inventor invented the

claimed invention as of the filing date sought.” Lockwood v. Am. Airlines,

Inc., 107 F.3d 1565, 1572 (Fed. Cir. 1997); see Appx90.             The PTAB

assessed the thousands of pages of expert testimony and underlying

evidence and found that a POSITA would not so conclude:

     Broad has persuaded us that absent results of a successful
     working example, the lack of discussion of PAM sequences, or
     sample target DNA sequences, the lack of special instructions
     or conditions necessary to accommodate the eukaryotic
     cellular environment, and the lack of a discussion of whether
     access to chromatin could hinder CRISPR-Cas activity would
     have indicated to those of ordinary skill in the art that the P1

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      applicants were not in possession of an embodiment of Count
      1.

Appx102-03.

      CVC does not challenge any of the PTAB’s findings on possession.

Instead, CVC once again falsely accuses the PTAB of applying an

erroneous legal standard.

      A.    The PTAB Applied The Correct Written Description
            Possession Standard

      CVC erroneously asserts that the PTAB demanded as a matter of

law “a working example,” proof of “expectation of success,” or “specific

instructions.” CVC25, 61, 64-66. Incredibly, CVC makes this accusation

even though the PTAB explicitly stated that it was not imposing any such

legal requirements. Appx103. Rather, the PTAB made its determination

based on the facts of this case, including the nature of the subject matter

at issue here and the highly unpredictable nature of the art:

      The answer may hinge on the lack of a working example or on
      whether there was an expectation of success, but would reflect
      the nature of the subject matter and the art—highly
      unpredictable—not a general requirement for such things.

Id.   In support of this fact-based conclusion, the PTAB cited Ariad

Pharmaceuticals, Inc. v. Eli Lilly & Co., 598 F.3d 1336, 1357-58 (Fed. Cir.


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2010)(en banc), where this Court found a lack of written description

support because, as here, there were no working examples and “the state

of the art at the time of filing was ‘primitive and uncertain’ with an

insufficient supply of prior art knowledge to fill the gaping holes in its

disclosure.” Appx103 (citing Ariad, 598 F.3d at 1357-58).

      Contrary to CVC’s contention, nowhere did the PTAB require CVC

to prove that the written description would “convince skeptics the

invention will work.” CVC30, 60-62. Rather, the PTAB correctly found

that, in this unpredictable and nascent art, a 2012 POSITA would have

required more than what P1 and P2 disclose to show possession of the

eukaryotic invention of Count 1.

     CVC’s reliance (CVCBr2, 55, 58, 60) on Alcon Research Ltd. v. Barr

Laboratories, Inc., 745 F.3d 1180 (Fed. Cir. 2014) is misplaced. There, in

a more predictable art, the patent contained experimental data (unlike

the lack of any eukaryotic example here) and, there, the challenger

“adduced no evidence” regarding lack of possession (unlike Broad’s

substantial evidence here as detailed below). Id. at 1191-92.




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     B.    Three Categories Of Substantial Evidence Support The
           Findings That Neither P1 Nor P2 Shows Possession

     The PTAB relied on multiple categories of substantial evidence in

finding that CVC failed to show possession.

           1.    Evidence That The 2012 POSITA Would Have
                 Been Aware Of Many Reasons Why Prokaryotic
                 CRISPR-Cas9 Systems Might Not Work In
                 Eukaryotic Cells

     The PTAB relied on extensive evidence showing that the 2012

POSITA would have been aware of multiple reasons why CRISPR-Cas9

systems might not work in eukaryotic cells even though it functioned in

vitro. For example, as Mirkin explained, it was well-known by 2012 that

eukaryotic cells target and degrade foreign double-stranded RNAs (like

that in CRISPR-Cas9). Appx86-87. Accordingly, the POSITA would have

been concerned that RNA degradation of the CRISPR-Cas9 system would

have rendered it inoperable.       “CVC does not present evidence to

contradict Mirkin’s testimony about the concerns one would have had,

given the lack of discussion of RNA degradation in P1.” Appx87.

     Mirkin also testified that a POSITA would be aware of many other

obstacles, such as chromatin blocking access to the cell’s DNA.

Appx50556-58(¶¶139-43). Contemporaneous statements from experts in

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the field confirmed that a POSITA would have required the results of

eukaryotic experiments or specific instructions to address the numerous

known obstacles.    Appx50547-48(¶¶116-17); Appx50572-73(¶¶183-85).

For example, the PTAB relied on the 2012 review of Jinek 2012 by CVC’s

expert Carroll in which he “stated that actual experiments were

necessary to address concerns about chromatin structure and RNA

stability and to determine if CRISPR-Cas9 systems would work in

eukaryotic cells.” Appx100. Based on this evidence, the PTAB concluded:

      Thus, [Carroll’s] statements shift the preponderance of the
      evidence towards Broad’s argument that without at least a
      discussion of the role of chromatic access in P1, those of
      ordinary skill in the art would not have considered the P1
      applicants to have had possession of an embodiment of Count
      1.

Id.

      The lack of discussion in P1 or P2 addressing these concerns is

substantial evidence supporting the PTAB’s finding of lack of possession.

           2.    Evidence Of Failures Encountered In Prior
                 Attempts To Adapt Similar Prokaryotic Systems
                 For Use In Eukaryotes

      The PTAB also relied on evidence of the failure of others in prior

attempts to adapt other prokaryotic systems for use in eukaryotes. For



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example, Group II introns—a prokaryotic RNA/protein complex (like

CRISPR-Cas9)—had been proposed for gene targeting in eukaryotic cells

and had been the subject of years of experiments. Appx88. But, as

explained earlier, technical issues plagued attempts to adapt this system

to eukaryotic cells and “efficient group II intron-based gene targeting

[had] not been demonstrated in eukaryotes.” Appx89. A 2012 POSITA,

knowing this history of Group II introns, would have thought that the

similar CRISPR-Cas9 systems likewise would not work in eukaryotes

without some specific instructions or conditions.

     The PTAB also relied on Mirkin’s uncontradicted testimony

regarding the difficulties encountered when scientists endeavored to

adapt prokaryotic RNA riboswitch and ribozyme systems to work in

eukaryotic cells.   The PTAB found his testimony persuasive and

corroborated and that “CVC fails to direct us to evidence that contradicts

Dr. Mirkin’s interpretations of these reports.” Appx92-93.

           3.    Contemporaneous Statements Of CVC’s Inventors
                 “indicating doubt that a CRISPR-Cas9 system
                 would work in eukaryotic cells”

     The PTAB further relied on the contemporaneous statements of

CVC’s inventors admitting that, even after the in vitro experiments in P1

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and P2, “it was not known whether such a bacterial system would

function in eukaryotic cells.” Appx101. The inventors also stated that,

while Jinek 2012 (which disclosed the in vitro examples of P1 and P2)

“was a big success, [] there was a problem.” Namely, CVC’s inventors

“weren’t sure if CRISPR-Cas9 would work in eukaryotes.” The PTAB

found that “even the CVC inventors, who could be considered to have had

more skill than the ordinary artisans, were not sure if the eukaryotic

chromatin would allow for a functional CRISPR-Cas9 system in a

eukaryotic cell.” Appx102.

     C.    The PTAB Appropriately Rejected CVC’s Attempt to
           Stitch Together An Embodiment

     CVC’s brief highlights a number of techniques it says P1 discloses,

such as codon optimization, PAM sequences, etc. CVCBr59-60. But CVC

ignores the substantial evidence supporting the PTAB’s finding that none

of those disclosures, standing alone or taken together, were adequate.

See, e.g., Appx94(“[W]e agree with Broad that P1 fails to disclose how

PAM sequences should be used with non-natural targets in a eukaryotic

CRISPR-Cas9 system”).        P1 contains only lists of routine biological

methods a POSITA could potentially use to attempt to adapt CRISPR-


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Cas9 to eukaryotic cells.   CVC asserted that these methods may be

employed to use CRISPR-Cas9 in eukaryotic cells, without any

explanation of how to successfully employ such methods alone or in

combination. Appx689[0165].

     As to how to deliver CRISPR-Cas9 systems into such cells, the

POSITA encounters yet another long list devoid of meaningful guidance

or context. Appx680[129]. The PTAB accepted the testimony of Broad’s

expert that P1 does “not provide any guidance or preference suggesting a

POSITA should use particular techniques in combination with specific

cells to adapt and deliver [a] CRISPR system.” Appx50542(¶97).

     The PTAB further found that P2 fares no better than P1. Based on

numerous facts discussed throughout its opinion, the PTAB found, “We

are unpersuaded that expression of Cas9 protein in the prokaryote E. coli

or general information about PAM sequences [that CVC argued were

added in P2] cures the deficiencies discussed above in regard to P1.”

Appx105.




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     In sum, substantial evidence supports the PTAB’s findings on lack

of written description.10




10 Not only do P1 and P2 lack written description support, they also lack

an enabling disclosure. But, the PTAB did not rule on enablement given
the lack of written description. Appx 104-05.

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     ARGUMENT ON BROAD’S CONDITIONAL CROSS-APPEAL

      If the Court affirms the judgment of priority, it need not reach

Broad’s conditional cross-appeal.

I.    The PTAB Erroneously Construed “guide RNA” As Limited
      To “only a single-molecule RNA configuration”

      Broad’s claims use the term “guide RNA”. This term had a plain

and ordinary meaning in the art by December 2012 and Broad’s

specifications do not define it more narrowly, nor do they contain any

clear disavowal of that meaning. Thus, Broad is entitled to the full scope

of its “guide RNA” claim language, including both single- and dual-

molecule configurations.

      In an interference, claim terms receive their broadest reasonable

interpretation. Dionex Softron GmbH v. Agilent Technologies, Inc., 56

F.4th 1353, 1358 (Fed. Cir. 2023). The patentee may deviate from plain

meaning only by including “expressions of manifest exclusion or

restriction, representing a clear disavowal of claim scope.” Thorner v.

Sony Computer Entertainment Amer. LLC, 669 F.3d 1362, 1366 (Fed. Cir.

2012).    “Absent a clear disavowal or contrary definition in the

specification or the prosecution history, the patentee is entitled to the full



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scope of its claim language.” Home Diagnostics, Inc. v. LifeScan, Inc., 381

F.3d 1352, 1358 (Fed. Cir. 2004).

     A.     Jinek 2012 Gave “guide RNA” A Plain And Ordinary
            Meaning To A 2012 POSITA

     The plain and ordinary meaning to a POSITA in the CRISPR art in

December 2012 of “guide RNA” included both single- and dual-molecule

RNA configurations. Jinek 2012, co-authored by CVC’s inventors, was

the most recent CRISPR-Cas9 art available to the POSITA on this point.

     Jinek    2012    disclosed   two     alternate   CRISPR-Cas9         system

configurations: (1) a dual-molecule configuration, with the crRNA and

tracrRNA as separate RNA molecules and (2) a single-molecule RNA

configuration covalently linking crRNA and tracrRNA with intervening

nucleotides. Importantly, Jinek 2012 was the first disclosure of sgRNA

in CRISPR-Cas9 systems and referred to both the sgRNA and the dual-

molecule configurations as “guide RNA.” Appx5610. Thus, Jinek 2012

established the meaning of “guide RNA” in the CRISPR-Cas9 context in

mid-2012 that Broad advocates.

     In deciding that “guide RNA” did not have a plain and ordinary

meaning despite the clear teachings in Jinek 2012, the PTAB cited


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publications in which the term “guide RNA” was used “but not for a

complex of the crRNA and tracrRNA.” Appx27. These publications all

pre-dated Jinek 2012, the initial article that disclosed sgRNA for

CRISPR-Cas9. Thus, those earlier references shed no light on the plain

and ordinary meaning of “guide RNA” to a post-Jinek 2012 POSITA.

And, those references employed the term “guide RNA” in different

contexts, while Jinek 2012 specifically defined the term in the context of

the RNA configurations for CRISPR-Cas9 systems. See Netword, LLC v.

Centraal Corp., 242 F.3d 1347, 1352 (Fed. Cir. 2001) (“The claims are

directed to the invention that is described in the specification; they do not

have meaning removed from the context from which they arose.”).

     Because these supposed counterweights to Jinek 2012 are

irrelevant to the meaning of “guide RNA” to the 2012 POSITA, no

evidence supports a conclusion that “guide RNA” lacked a plain, ordinary

meaning.

     B.     Claim Differentiation Confirms That “guide RNA” Is
            Not Limited To “only a single-molecule RNA”

     Broad’s claims differentiate between the generic term “guide RNA”

and the sgRNA species (referred to as “fused” or “chimeric” in Broad’s


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claims), further supporting Broad’s construction.               For example,

independent claim 15 in Broad’s ’359 patent recites “guide RNA” with no

indication that it is limited to a particular configuration:

      An engineered, programmable, non-naturally occurring Type
      II CRISPR-Cas9 system comprising a Cas9 protein and at
      least one guide RNA that targets and hybridizes to a target
      sequence of a DNA molecule in a eukaryotic cell….

Appx17680. In contrast, dependent claim 18—half of Count 1—explicitly

narrows and limits the guide RNA of claim 15 to “fused” guide RNAs

(sgRNA):

      The CRISPR-Cas system of claim 15, wherein the guide RNAs
      comprise a guide sequence fused to a tracr sequence.

Id.

      If “guide RNA” is limited to the sgRNA species, claim 18 is

redundant of claim 15. But, the “presence of a dependent claim that adds

a particular limitation gives rise to a presumption that the limitation in

question is not present in the independent claim.” Phillips v. AWH Corp.,

415 F.3d 1303, 1314-15 (Fed. Cir. 2005)(en banc). No evidence overrides

that presumption.

      Other Broad claims that recite “guide RNA” allow the crRNA and

the tracr RNA to be delivered on “different vectors.” See, e.g., Appx18221,

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cl. 3. CVC did not dispute Broad’s evidence that delivery on different

vectors would result in a “guide RNA” with a dual-molecule

configuration. Appx19491-92; Appx48276. Allowing for delivery of the

guide RNA on different vectors resulting in a dual-molecule configuration

is nonsensical if “guide RNA” must be sgRNA.

     The PTAB acknowledged that claim differentiation was persuasive

evidence that “guide RNA” includes single- and dual-molecule

configurations. See Appx21 (noting ’359 patent claims 15 and 18 “tend to

indicate that ‘guide RNA’ is a generic term, which could be limited to

single-molecule RNA configuration by the term ‘fused’ in a dependent

claim.”). But, the PTAB concluded the presumption was “overcome by

Broad’s specification.” Appx32. That conclusion is legal error; Broad’s

specifications do not contain a clear disavowal of the plain and ordinary

meaning of “guide RNA.”

     C.     The Specification Confirms “guide RNA” Is Not
            Limited To Single-Molecule RNA

     Regardless of whether one starts with Broad’s specifications to

determine if there is a clear disavowal of the plain and ordinary meaning

of “guide RNA” or to supply the term’s definition in the first instance, the


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result is the same—the broadest reasonable interpretation of “guide

RNA” encompasses both single- and dual-molecule configurations.

       For instance, Example 6 of the ’356 patent uses the term “guide

RNA” to encompass both single-molecule and double-molecule guide

RNA.     Example 6 is entitled “Optimization of the Guide RNA for

Streptococcus pyogenes Cas9” and refers to both dual-molecule

(“tracrRNA and direct repeat sequences”) and single-molecule (“chimeric

guide RNA”) RNA as “guide RNA.” Appx22814. Likewise, the ’308 patent

refers to dual-molecule (“combination of tracrRNA and crRNA”) and

single-molecule (“chimeric guide RNA”) collectively as “guide RNA.”

Appx22443.

       Consistently, the specifications disclose dual-molecule RNA

systems as preferred embodiments. For instance, the first “preferred

embodiment” in Broad’s ’359 patent is a dual-molecule RNA embodiment.

A construction, like the PTAB’s here, that entirely reads out preferred

embodiments “is rarely, if ever, correct.” MBO Labs., Inc. v. Becton,

Dickinson & Co., 474 F.3d 1323, 1333 (Fed. Cir. 2007).




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     The PTAB did not explain in detail why it was (wrongly) persuaded

by CVC’s argument that one sentence from Broad’s specification

narrowly defined “guide RNA”:

     In aspects of the invention the terms “chimeric RNA”,
     “chimeric guide RNA”, “guide RNA”, “single guide RNA” and
     “synthetic guide RNA” are used interchangeably and refer to
     the polynucleotide sequence comprising the guide sequence,
     the tracr sequence and the tracr mate sequence.

Appx27-28 (quoting Appx17616(12:6-16)). There are several problems

with the PTAB’s conclusion regarding this intrinsic evidence.

     First, the sentence refers only to “aspects of the invention,” not the

invention as a whole. Thus, the most natural reading of the sentence is

that it is not definitional, but instead refers to certain embodiments,

some of which are sgRNA embodiments. In contrast, when Broad wanted

to specifically define a term, it used “as used herein” “means” language,

such as:

     As used herein the term “wild type” is a term of the art
     understood by skilled persons and means the typical form of
     an organism, strain, gene or characteristic as it occurs in
     nature as distinguished from mutant or variant forms.

Appx17616.




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     Broad’s specification uses the term “aspects of the invention” in a

non-limiting manner not to define the invention as a whole. For example,

the specification states “[i]n aspects of the invention, nickases may be

used for genome editing via homologous recombination” and “[i]n aspects

of the invention, an exogenous template polynucleotide may be referred

to as an editing template.” Appx17619; Appx17737.

     Second, the specification shows that “used interchangeably” does

not mean the “interchangeable” terms have the same meaning. Consider,

for example, the preceding paragraph in the specification:

     The terms “polynucleotide”, “nucleotide”, “nucleotide
     sequence”, “nucleic acid” and “oligonucleotide” are used
     interchangeably.

Appx17616. A POSITA reading this sentence would undoubtedly know

that “used interchangeably” does not mean that a polynucleotide is a

nucleic acid or is a nucleotide; rather “interchangeable” means that,

where appropriate, the terms may be substituted, broadening the

disclosures to cover different concepts.

     Similarly, “used interchangeably” in the one sentence cited by the

PTAB does not mean that guide RNA is chimeric RNA; rather, it means

that for certain—but not all—“aspects of the invention,” the concepts can

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be interchangeable in that the CRISPR-Cas9 system has a “guide RNA,”

whatever the configuration of the RNA.

      The totality of the relevant intrinsic evidence is therefore, like the

plain and ordinary meaning, consistent only with a broadest reasonable

interpretation of “guide RNA” that encompasses both single- and dual-

molecule RNA configurations. The Court should accordingly reverse the

PTAB’s overly narrow construction of “guide RNA.”

II.   If The Court Agrees “guide RNA” Is Not Limited To Single-
      Molecule RNA, It Should Vacate The Denials Of Broad
      Motions 2 And 3

      The PTAB denied Broad Motion 2 (to broaden the count beyond

sgRNA) and Broad Motion 3 (to designate certain claims that are not

limited to sgRNA as corresponding to Count 1) largely based on its

incorrect construction of “guide RNA.”

      It is undisputed that Broad currently has hundreds of involved

claims that use the term “guide RNA” and, thus, using the broadest

reasonable interpretation, these claims cover both dual- and single-

molecule configurations. Count 1, however, is limited to single-molecule

RNA systems. It would be fundamentally unfair to put these broader

claims at risk in the interference while simultaneously prohibiting Broad

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from introducing priority proofs of significant earlier work with dual-

molecule RNA.

     Accordingly, if the Court agrees that “guide RNA” is not limited to

the single-molecule configuration, it should vacate the PTAB’s decisions

on Broad’s Motions 2 and 3 and direct the PTAB to reconsider those

motions de novo under the proper construction. Awarding priority to

claims that are generic as to the RNA based on priority evidence that is

limited to only the sgRNA species of Count 1 would violate the “primary

purpose of an interference,” which is to make a “determination of priority

as to [e]ach of the common [patentably distinct] inventions claimed by the

parties.” Godtfredsen v. Banner, 598 F.2d 589, 592 (C.C.P.A. 1979).

                            CONCLUSION

     For all these reasons, the Court should affirm the PTAB’s judgment

of priority to Broad. If the Court reaches Broad’s conditional cross-

appeal, the Court should reverse the PTAB’s construction of “guide RNA”

and vacate the PTAB’s decisions on Broad’s Motions 2 and 3.




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                                        Respectfully submitted,

February 7, 2023
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                      CERTIFICATE OF SERVICE

     I hereby certify that on this 7th day of February, 2023, I caused the

foregoing brief to be filed with the Clerk of the Court for the United States

Court of Appeals for the Federal Circuit through the Court’s CM/ECF

system.

     Participants in this case who are registered CM/ECF users will be

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                                          /s/ Raymond N. Nimrod




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                  CERTIFICATE OF COMPLIANCE

     In accordance with Circuit Rule 32(a)(5) and Rule 32(a)(7)(B) of the

Federal Rules of Appellate Procedure, the undersigned certifies that the

accompanying brief has been prepared using 14-point Century

Schoolbook typeface, and is double-spaced (except for headings and

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Circuit Rule 28(a)(1), table of contents, table of authorities, signature

lines, and certificates of service and compliance. The undersigned used

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                                         /s/ Raymond N. Nimrod




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